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                                     In re FibroGen, Inc. Securities Litigation, No. 3:21-cv-02623-EMC (N.D. Cal)
                                                                 APPENDIX
                          Lead Plaintiffs’ Chart Summarizing Allegedly False/Misleading Statement(s) and Omission(s)*
                                                      Pursuant to Court’s Standing Order
  * Plaintiffs respectfully refer the Court to the Consolidated Class Action Complaint, dated October 29, 2021, for a full recitation of their complete allegations.
For ease of reference, Plaintiffs have presented Defendants’ false and misleading statements according to each occasion, while listing each statement made during
                                    such occasion, and have alternated the highlighting for those occasions between gray and green.

 Stat.   CC       Speaker,           Defendants False and               Reasons Why Defendants’ Statements               Facts Giving Rise to a Strong,
 # (s)   ¶¶’s     Date, and        Misleading Statements and             Were False and Misleading When                 Cogent and Compelling Inference
                  Occasion                 Omissions                                  Made                                  of Defendants’ Scienter

 1-4     142-   Speaker(s):     1. Defendant Yu: Roxadustat            These statements were materially false           Defendants’ Post Hoc Admissions
         144                    “achieved superiority in efficacy      and misleading and omitted material
                FibroGen,                                                                                               As Defendants admitted on April 6,
                                not only against placebo but           facts because the Phase 3 trials of
                Neff (CEO),                                                                                             2021, Defendants had manipulated
                                also over [Epogen] in our              Roxadustat did not show “superiority” or
                Yu (CMO)                                                                                                each and every one of nine key
                                studies,” and “[t]hese results         “improve[ment]” in efficacy over                 analyses of Roxadustat’s clinical
                Date:           support [R]oxadustat’s potential       placebo or Epogen. To the contrary, the          trial data by making blatantly
                                to bring clinical benefit over         purportedly positive Roxadustat efficacy
                December                                                                                                improper “post hoc changes” to that
                                current standard of care.”             and safety data Defendants touted was
                20, 2018                                                                                                data in order to make the drug
                                                                       based on Defendants’ own improper post
                                2. Former CEO Neff: “[t]his is                                                          appear significantly better and safer
                Occasion:                                              hoc manipulations of the data to make
                                the first well-controlled CKD                                                           than it really was. In reality,
                                                                       the drug look significantly better and
                FibroGen        anemia program that has shown                                                           Roxadustat’s undisclosed, true data
                                                                       safer than it was, and not on any
                Press           improved efficacy in incident                                                           demonstrated that it was alarmingly
                                                                       prespecified analyses required by the
                Release         and stable dialysis patients                                                            inferior to Epogen and placebo due
                                                                       FDA.
                announcing      relative to [Epogen] standard of                                                        to severe safety issues, including
                “Positive       care therapy.”                         In reality, Roxadustat’s safety signals          increased deaths, that doomed the
                Topline                                                were so alarming that it was more                drug’s chances for FDA approval.
                                3. Press Release: noted certain
                Results                                                dangerous than placebo and decidedly             In FibroGen’s own words, “based on
                                specific efficacy results, such as
                from Three                                             inferior to Epogen—rendering                     [the undisclosed, true FDA
                                that “in the pre-specified
                Global                                                 Roxadustat too dangerous to be approved          prespecified] analyses we cannot
                                secondary efficacy analysis,
                Phase 3                                                at all. Thus, there was in fact no proof of      conclude that Roxadustat reduces
                                Roxadustat-treated patients had
                Trials of                                              any efficacy for Roxadustat because              the risk of (or is superior to) …
                                a 33% reduction in the risk of
                Roxadustat”                                            there were far too many serious safety           [Epogen].” ¶¶81, 237.
                                blood transfusion compared to          signals for the drug to warrant approval
                                [Epogen].”                                                                              Analysts Excoriated Defendants
                                                                       for any patient population, regardless of
                                4. Press Release: “The                 any “Black Box” warning.                         Analysts uniformly excoriated
                                preliminary safety analyses of                                                          management for their fraudulent
                                                                       With respect to the purported “reduction
                                each of these three individual                                                          data manipulations, emphasizing
                                                                       in the risk of blood transfusion compared
                                studies show an overall safety                                                          that the “meaningfully worse” data
                                                                       to” Epogen, the FDA AdCom expressly
                                profile consistent with the                                                             represented a “material change” in
                                                                       determined on July 15, 2021 that this
                                results observed in prior                                                               Roxadustat’s safety profile, and that

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               Occasion              Omissions                             Made                               of Defendants’ Scienter

                           Roxadustat studies. The           claim was inconclusive at best, and likely   it was “unclear” how Defendants
                           adverse events reported are       nonexistent if the dose of Roxadustat was    only then purportedly learned of the
                           consistent with those expected    lowered to address the massive safety        changes. For example, Jefferies
                           in these study populations with   issues that prevented its approval.          noted the “key takeaway” from
                           similar background diseases.”                                                  Defendants’ admissions was that the
                                                             Moreover, Defendants knew that               drug was “no longer ‘statistically
                                                             Roxadustat’s safety signals—rather than      superior’” to Epogen, representing
                                                             being “consistent” with prior trials or      a “material change” to the drug’s
                                                             “expect[ed]” in the study population—        safety profile.” H.C. Wainwright
                                                             were in fact so numerous and “very           highlighted that the “new dataset is
                                                             concern[ing]” under the actual,              weaker”; “the prior conclusion of []
                                                             undisclosed prespecified analyses            superiority. . . is no longer
                                                             required by the FDA, that the FDA            supported by the new analysis”; and
                                                             AdCom would vote not to approve the          it was “unclear why the company
                                                             drug at all. See ¶146.                       only ‘became aware’ of this issue at
                                                                                                          this point in time.” Raymond James
                                                                                                          stated the new data was
                                                                                                          “meaningfully worse than what was
                                                                                                          presented in the past,” and William
                                                                                                          Blair noted that Defendants’
                                                                                                          admission “will negatively affect
                                                                                                          management’s credibility.” ¶¶89-93,
                                                                                                          99; 238-39.
                                                                                                          Medical Journals Rebuke the
                                                                                                          “Staggering Admissions”
                                                                                                          In striking commentary, prominent
                                                                                                          medical publications also explicitly
                                                                                                          highlighted the intentional nature of
                                                                                                          Defendants’ “data doctoring.” For
                                                                                                          example, among many other
                                                                                                          rebukes, STAT+ emphasized that
                                                                                                          Defendants had been “touting false
                                                                                                          heart safety data … for at least two
                                                                                                          years—a shocking revelation,” and
                                                                                                          concluded that “FibroGen cheated”
                                                                                                          by committing “the worst case of
                                                                                                          data manipulation in years.”
                                                                                                          Evaluate Vantage noted that
                                                                                                          Defendants’ explanation for the

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               Occasion            Omissions                         Made                       of Defendants’ Scienter

                                                                                            “staggering admission” “stretches
                                                                                            the bounds of credibility.” And
                                                                                            FiercePharma confirmed the
                                                                                            intentional nature of Defendants’
                                                                                            changes, noting that “[t]he fact that
                                                                                            all nine analyses [] looked less
                                                                                            favorable [] after the change raises
                                                                                            the suspicion that [] FibroGen
                                                                                            carefully selected the new criteria
                                                                                            to make Roxa’s profile look better.”
                                                                                            ¶¶94-95, 240.
                                                                                            Nephrologists Confirmed the Data
                                                                                            Manipulations “Could [Not]
                                                                                            Happen Accidentally”
                                                                                            Prominent nephrologists, including
                                                                                            those with personal knowledge of
                                                                                            the Roxadustat trials, likewise put
                                                                                            the blame for the manipulations
                                                                                            squarely on FibroGen management.
                                                                                            For example, Dr. Coyne, a
                                                                                            university professor and
                                                                                            nephrologist who personally worked
                                                                                            as a site investigator for the
                                                                                            Roxadustat trials, emphasized that
                                                                                            “[t]his deeply damages the
                                                                                            reputation of FibroGen going
                                                                                            forward. I feel very misled, and I
                                                                                            don’t think there is any excuse for
                                                                                            this. I don’t know how this could
                                                                                            happen accidentally.” Dr. Porges, a
                                                                                            prominent Wall Street biotech
                                                                                            analyst, called Defendants’
                                                                                            admission “nothing less than
                                                                                            stunning” given that “[t]he re-
                                                                                            statement reduced the benefit from
                                                                                            [Roxadustat] vs controls in every
                                                                                            case, [and] erased the appearance
                                                                                            of superiority over ESAs in incident
                                                                                            dialysis patients.” ¶¶96-100, 241.

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                                                           Roxadustat’s Significance
                                                           Roxadustat was indisputably
                                                           FibroGen’s single most important
                                                           drug and core operation during the
                                                           Class Period. Indeed, analysts
                                                           specifically noted that the drug
                                                           accounted for 85-90% of
                                                           FibroGen’s market value, and if the
                                                           drug received FDA approval, its
                                                           potential $3.5 billion market
                                                           dwarfed FibroGen’s $176 million in
                                                           revenue for all of 2020 by 20 times.
                                                           ¶¶42, 246.
                                                           Defendants’ Repeated Assurances
                                                           Defendants repeatedly assured
                                                           investors about the “superior”
                                                           efficacy and safety of Roxadustat
                                                           literally dozens of times throughout
                                                           the Class Period. When investors
                                                           specifically questioned Defendants
                                                           about the adequacy and accuracy of
                                                           the drug’s data, Defendants
                                                           aggressively denied any issues
                                                           whatsoever with that data. The fact
                                                           that Defendants spoke so often and
                                                           in such detail about the Roxadustat
                                                           data makes clear that the data was
                                                           critically important to them, and that
                                                           they had fully analyzed that data and
                                                           were intimately familiar with all of
                                                           the clinical trial results. ¶¶142-235,
                                                           247-248.
                                                           Scope and Duration of the Fraud
                                                           Defendants’ fraud lasted over two
                                                           years, which analysts repeatedly
                                                           emphasized in directly implicating
                                                           FibroGen management for the data
                                                           manipulations. The longstanding
                                                           nature of Defendants’ fraudulent
                                                           misrepresentations—and the degree
                                                           to which those representations
                                                           sharply conflicted with the actual

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               Occasion            Omissions                         Made                       of Defendants’ Scienter

                                                                                            Roxadustat data Defendants had in
                                                                                            hand but that they never fully
                                                                                            revealed to investors—directly
                                                                                            supports a strong inference of
                                                                                            scienter. ¶¶247, 249, 257.
                                                                                            CWs Confirm Defendants’
                                                                                            Complicity in the Fraud
                                                                                            Former employees of FibroGen’s
                                                                                            partner, AstraZeneca, confirmed that
                                                                                            Defendants had first-hand
                                                                                            knowledge, and control, of the
                                                                                            Roxadustat data. For example, these
                                                                                            CWs stated that during the Class
                                                                                            Period, “FibroGen was in control of
                                                                                            the [Roxadustat] data and when the
                                                                                            data was released,” and FibroGen’s
                                                                                            most senior management—including
                                                                                            Neff and Defendant CMO Yu—
                                                                                            were “all over every bit of [the
                                                                                            Roxadustat data]”; Defendants
                                                                                            “played fast and loose” with the
                                                                                            drug’s data, with “investor
                                                                                            confidence [being] the main game”;
                                                                                            and that Defendants manipulated the
                                                                                            drug in a way that “chang[ed]
                                                                                            everything” about “[t]he relative
                                                                                            significance of its efficacy in light
                                                                                            of its safety.” These CWs further
                                                                                            recalled that by the fall of 2020,
                                                                                            Defendants knew that there were
                                                                                            significant issues with that data and
                                                                                            that the FDA might not approve the
                                                                                            drug, at the same time Defendants
                                                                                            were publicly representing the
                                                                                            opposite. ¶¶121-127, 250-252.
                                                                                            Defendants Had Financial Motive
                                                                                            Neff and the Individual Defendants
                                                                                            engaged in substantial and

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               Occasion            Omissions                         Made                       of Defendants’ Scienter

                                                                                            coordinated insider selling during
                                                                                            the Class Period of $42 million.
                                                                                            Significantly, Neff alone sold $32
                                                                                            million of that amount, and he
                                                                                            received lucrative compensation and
                                                                                            bonuses in 2018 totaling $9.2
                                                                                            million, which significantly
                                                                                            increased to $11.4 million in 2019,
                                                                                            the year FibroGen submitted the
                                                                                            NDA. Yu received $4.5 million in
                                                                                            total compensation and bonuses in
                                                                                            2018 and received over $10 million
                                                                                            in awards directly tied to “the
                                                                                            completion of the Roxadustat
                                                                                            MACE safety analysis” and her
                                                                                            work on the NDA. Yu also engaged
                                                                                            in significant insider sales during the
                                                                                            Class Period, reaping over $2
                                                                                            million in profits. FibroGen itself
                                                                                            stood to receive large milestone
                                                                                            payments from AstraZeneca, which
                                                                                            comprised a significant portion of
                                                                                            FibroGen’s revenue during the Class
                                                                                            Period. ¶¶134-39, 253-54.
                                                                                            FibroGen’s Milestone Payments
                                                                                            Defendants stood to receive highly
                                                                                            substantial milestone payments from
                                                                                            FibroGen’s partner AstraZeneca,
                                                                                            totaling $1.2 billion for
                                                                                            developmental, regulatory and
                                                                                            commercial milestones if
                                                                                            Roxadustat was approved by the
                                                                                            FDA for commercially viable patient
                                                                                            populations. ¶¶38, 43, 66, 256.
                                                                                            Defendant Yu’s Resignation
                                                                                            Defendants announced the abrupt
                                                                                            and suspiciously timed departure of
                                                                                            Defendant Yu on November 27,

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                 Occasion              Omissions                             Made                        of Defendants’ Scienter

                                                                                                     2020, less than one month prior to
                                                                                                     the PDUFA date of December 20,
                                                                                                     2020 and at the exact same time
                                                                                                     Plaintiffs’ CWs stated the FDA was
                                                                                                     informing FibroGen that, at the very
                                                                                                     least, Roxadustat would require a
                                                                                                     Black Box warning due to numerous
                                                                                                     safety issues the FDA had
                                                                                                     uncovered. As a May 17, 2021
                                                                                                     SeekingAlpha article noted, “[n]o
                                                                                                     reason was given” for Yu’s abrupt
                                                                                                     departure, which was highly
                                                                                                     suspicious considering that Yu was
                                                                                                     the lead author of the specific
                                                                                                     scientific paper regarding the
                                                                                                     Roxadustat data that later had to be
                                                                                                     retracted due to Defendants’ fraud.
                                                                                                     ¶¶100, 258.
5-7     145-   Speaker(s): 5. Neff: All of the Phase 3         See reasons for falsity provided in   See facts giving rise to a strong,
        146                Roxadustat studies “have            connection with Statements 1-4.       cogent and compelling inference of
               FibroGen,            top line results” and                                            Defendants’ scienter provided in
               Neff (CEO), positive
                           “support   our NDA [to the                                                connection with Statements 1-4.
               Yu (CMO)    FDA]” …“based on our review
               Date:       of the data…there is a strong
                           conviction to move ahead to file
               February    the NDA…this year.”
               27, 2019
                           6. Yu: “superiority [to Epogen]
               Occasion:   was demonstrated in all 3
               4Q and FY   dialysis studies,” and of “much
               2018        clinical importance” was the
               Earnings    fact that “Roxadustat was []
               Call        shown to have a lower [red
                           blood cell] transfusion risk than
                           ESA,” which Yu emphasized
                           was a “big deal” and “of great
                           significance to CKD patients.”
                           7. Yu: With respect to the
                           preliminary safety data from the
                           trials, Yu reiterated that the

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                Occasion               Omissions                                 Made                                of Defendants’ Scienter

                             “[r]esults in individual studies
                             are consistent with what one
                             would expect in the study
                             patient population,” and stated
                             that FibroGen was “encouraged
                             by the robust efficacy results,
                             the preliminary safety data in
                             individual Phase 3 studies and
                             the ongoing pool efficacy and
                             safety analyses.”
8-      147-   Speaker(s):   8. Press Release: FibroGen            In addition to the reasons for falsity set    See facts giving rise to a strong,
13      152                  claimed that: (i) there was “no       forth above, Defendants’ statements in        cogent and compelling inference of
               FibroGen,     clinically meaningful difference      the May 2019 Press Release are also           Defendants’ scienter provided in
               Neff (CEO),   in [MACE] risk” between the           false and misleading and omitted              connection with Statements 1-4.
               Yu (CMO)      two treatment arms for DD and         material facts for the following additional   In addition, with respect to
               Date:         NDD patients; and that (ii)           reasons.                                      Defendants’ statements that the FDA
                             Roxadustat had achieved
               May 9, 2019                                         First, Defendants’ claim that there was       would be evaluating the Roxadustat
                             “[s]uperiority in time to first       no “clinically meaningful difference in       safety data against the “commonly
               Occasion:     MACE+ versus [Epogen] in              risk of MACE between Roxadustat” and          applied” non-inferiority margin of
                             incident dialysis patients” and
               Press                                               placebo in NDD patients—or between            1.3, the FDA stated that it had
                             that there was “a trend toward
               Release                                             Roxadustat and Epogen in DD patients—         directly told FibroGen during its
                             reduced [MACE] risk for
               announcing                                          was false. To the contrary, Defendants        pre-NDA meetings with the
                             patients on [R]oxadustat”
               “Positive                                           improperly manipulated the Roxadustat         Company that it did “not agree with
                             compared to Epogen.
               Topline                                             safety data post hoc in order to make the     [FibroGen’s] proposed [non-
               Results       9. Press Release: FibroGen            drug appear significantly better and safer    inferiority] margin of 1.3” because
               From          stated that the “ITT [intention-to-   than it was. As the FDA would reveal at       “it was defined [by FibroGen] after
               Pooled        treat]” method was “among the         the end of the Class Period, under the        the results of the study were
               Safety        several statistical methods that      true, undisclosed prespecified analyses       known.” The FDA further informed
               Analyses of   we will discuss with the FDA,”        required by the FDA, Roxadustat’s safety      FibroGen during those meetings that
               Roxadustat    and that “[i]n these analyses,        signals were so alarming and “serious”        the agency “had a goal of 1.25”—
               Global        Roxadustat was comparable             that the drug was more dangerous than         i.e., a significantly lower non-
               Phase 3       based on a commonly applied           placebo and decidedly inferior to and         inferiority margin than 1.3—a fact
               Program”      non-inferiority margin of 1.3.”       caused more deaths than Epogen,               Defendants never disclosed to
               (the “May                                           rendering Roxadustat too dangerous to be      investors. ¶¶55, 110.
                             10. Yu: “[w]e are particularly
               2019 Press                                          approved at all.
                             excited about the results
               Release”)     indicating a reduction of risk of     Second, as Defendants were well aware,
                             MACE+ events in incident              under the undisclosed prespecified
                             dialysis patients.”                   analyses, there was no statistically
                                                                   significant “superiority” of Roxadustat

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               Occasion              Omissions                                Made                               of Defendants’ Scienter

                           11. Neff: “[w]e are very pleased     over Epogen for the MACE+ endpoint in
                           with what we believe are             the crucial incident dialysis population,
                           important positive results of        nor was there “a trend toward reduced
                           MACE and MACE+ analyses in           [MACE] risk for patients on
                           the dialysis-dependent, incident     Roxadustat.” To the contrary, FibroGen
                           dialysis, and non-dialysis           could only claim this result after
                           dependent CKD patients,              manipulating the data post hoc to make
                           supporting the safety of             the drug seem much safer than it was.
                           Roxadustat in CKD patients . . .     Indeed, based on the actual prespecified
                           these positive safety data give us   analyses required by the FDA,
                           confidence as we progress in         Defendants admitted in the April 6, 2021
                           preparation for the U.S NDA…”        press release that they “[could not]
                                                                conclude that Roxadustat reduces the
                           12. Neff: In the press release,      risk of (or is superior to) . . . MACE and
                           Neff touted certain Roxadustat       MACE+ in incident dialysis compared
                           efficacy results, namely a           to [Epogen].”
                           “reduction of transfusion, and
                           the encouraging results from         Third, rather than there being any
                           the pooled analyses of Quality       “statistically significant improvements”
                           of Life.”                            in quality of life data for NDD patients
                                                                taking Roxadustat, the exact opposite
                           13. Yu: touted the “additional       was true—as the FDA AdCom would
                           potential clinical benefits of       expressly determine, based on the drug’s
                           Roxadustat,” including a             true, undisclosed analyses, there was in
                           purported “improvement of            fact “a surprising lack of improvement
                           quality of life in NDD-CKD           in quality of life” in NDD patients taking
                           patients,” which the press           Roxadustat.
                           release claimed was “statistically
                           significant” in NDD patients.        Fourth, Defendants’ assertion that under
                                                                the ITT analysis—which Defendants
                                                                claimed was one of several prespecified
                                                                analyses discussed with the FDA—
                                                                Roxadustat had achieved non-inferiority
                                                                because its hazard ratio was below the
                                                                “commonly applied” 1.3 threshold was
                                                                also false. Indeed, as the FDA would
                                                                reveal during the July 15, 2021 AdCom,
                                                                in FibroGen’s private negotiations with
                                                                the FDA about the prespecified non-
                                                                inferiority margin, the FDA in fact did
                                                                “not agree with [FibroGen’s] proposed

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                Occasion               Omissions                              Made                               of Defendants’ Scienter

                                                                [non-inferiority] margin of 1.3” because
                                                                “it was defined [by FibroGen] after the
                                                                results of the study were known”—in
                                                                other words, FibroGen had defined the
                                                                1.3 margin for itself, post hoc and after
                                                                the data were fully unblinded, with no
                                                                agreement from the FDA. Moreover, the
                                                                FDA revealed that, during its pre-NDA
                                                                meetings with FibroGen, the FDA in fact
                                                                “had a goal of 1.25, and that’s what we
                                                                discussed during meetings[,] [s]o that’s
                                                                why there was not an agreement on
                                                                1.3.”
14-     153-   Speaker(s):   14. Neff: In response to analyst   In addition to the reasons for falsity set   See facts giving rise to a strong,
21      161                  questions about the meaning of     forth above, Defendants’ statements          cogent and compelling inference of
               FibroGen,     the “clinically meaningful”        during the Q1 2019 Earnings Call were        Defendants’ scienter provided in
               Neff (CEO),   statement, Neff stated that it     materially false and misleading and          connection with Statements 1-4 and
               Yu (CMO)      “mean[t] that [Roxadustat] met     omitted material facts for the following     8-13.
               Date:         the safety standards that people   additional reasons.                          Moreover, Defendants’ strong,
                             were looking for and that’s why
               May 9, 2019                                      First, Defendants’ claim that there was      affirmative and false responses to
                             people are moving forward” and     no “clinically meaningful difference in      analysts’ direct questions about
               Occasion:     “the message there is we’re        risk of MACE between Roxadustat” and         whether the data FibroGen was
                             trending favorably.”
               Q1 2019                                          placebo in NDD patients—or between           presenting was sanctioned by the
               Earnings      15. Neff and Yu: Defendants        Roxadustat and Epogen in DD patients—        FDA is highly probative of scienter.
               Call          Neff and Yu also further           was false. To the contrary, Defendants       ¶248.
                             emphasized the purported           improperly manipulated the Roxadustat
                             numerical advantage in MACE+       safety data post hoc in order to make the
                             of Roxadustat versus Epogen,       drug appear significantly better and safer
                             with Defendant Neff asserting      than it was. As the FDA would reveal at
                             that in “[e]very one of [the       the end of the Class Period, under the
                             MACE+ categories]”—which           true, undisclosed prespecified analyses
                             Defendants explained               required by the FDA, Roxadustat’s safety
                             encompassed MACE all               signals were so alarming and
                             events—“we have a numeric          “concerning” that the drug was more
                             advantage over ESA… Fewer          dangerous than placebo and decidedly
                             events in Roxa versus ESA in       inferior to Epogen, rendering Roxadustat
                             deaths. Fewer events in Roxa       too dangerous to be approved at all.
                             versus ESA in myocardial           Second, as Defendants were well aware,
                             infarction. Fewer strokes in       under the undisclosed prespecified

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Stat.   CC     Speaker,        Defendants False and              Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s   Date, and     Misleading Statements and            Were False and Misleading When              Cogent and Compelling Inference
               Occasion              Omissions                                 Made                               of Defendants’ Scienter

                           Roxa than ESA. Fewer unstable         analyses, there was no statistically
                           angina hospitalizations. Fewer        significant “superiority” of Roxadustat
                           congestive heart failures             over Epogen for the MACE+ endpoint in
                           resulting in hospitalizations.”       the crucial incident dialysis population,
                           Defendant Yu agreed with these        nor was there “a trend toward reduced
                           representations.                      [MACE] risk for patients on
                                                                 Roxadustat.” To the contrary, FibroGen
                           16. Yu: For NDD patients, Yu          could only claim this result after
                           stated that “because our drug is      manipulating the data post hoc to make
                           so efficacious and so well            the drug seem much safer than it was.
                           tolerated, patients really like       Indeed, based on the actual prespecified
                           staying on our drug,” and that,       analyses required by the FDA,
                           under the purportedly                 Defendants admitted in the April 6, 2021
                           “conservative” ITT analysis,          press release that they “[could not]
                           “the fact that . . . we are able to   conclude that Roxadustat reduces the
                           show non-inferiority to placebo       risk of (or is superior to) . . . MACE and
                           under such conditions”—which          MACE+ in incident dialysis compared
                           Yu stressed was “the gold             to [Epogen].”
                           standard for safety”—“really
                           illustrates the strength of our       Third, rather than there being any
                           drug’s safety.”                       “statistically significant improvements”
                                                                 in quality of life data for NDD patients
                           17. Yu: For incident dialysis         taking Roxadustat, the exact opposite
                           patients, Yu stated: “[F]or us to     was true—as the FDA AdCom would
                           state that we are superior in         expressly determine, based on the drug’s
                           time to MACE+ analysis in             true, undisclosed analyses, there was in
                           incident dialysis, what I mean is     fact “a surprising lack of improvement
                           the upper bound of the 95%            in quality of life” in NDD patients taking
                           confidence interval is less than      Roxadustat.
                           1. And [] when you compare
                           the hazard between Roxadustat         Fourth, Defendants’ assertion that under
                           to that of [Epogen], we have a        the ITT analysis—which Defendants
                           very significant p value.”            claimed was one of several prespecified
                                                                 analyses discussed with the FDA—
                           18. Yu: In response to a direct       Roxadustat had achieved non-inferiority
                           analyst question seeking              because its hazard ratio was below the
                           “reassurance” regarding the           “commonly applied” 1.3 threshold was
                           “number of deaths, MIs and            also false. Indeed, as the FDA would
                           strokes” (i.e., MACE events) in       reveal during the July 15, 2021 AdCom,
                           the overall DD patient                in FibroGen’s private negotiations with
                           population as opposed to the          the FDA about the prespecified non-
                           incident dialysis subpopulation,

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Stat.   CC     Speaker,        Defendants False and                Reasons Why Defendants’ Statements               Facts Giving Rise to a Strong,
# (s)   ¶¶’s   Date, and     Misleading Statements and              Were False and Misleading When                 Cogent and Compelling Inference
               Occasion              Omissions                                   Made                                  of Defendants’ Scienter

                           Yu replied, “we are quite          inferiority margin, the FDA in fact did
                           comfortable with the safety        “not agree with [FibroGen’s] proposed
                           result when looking at MACE        [non-inferiority] margin of 1.3” because
                           and MACE+” and verified that       “it was defined [by FibroGen] after the
                           the rates of events in each of the results of the study were known”—in
                           MACE and MACE+ categories          other words, FibroGen had defined the
                           were at least comparable as        1.3 margin for itself, post hoc and after
                           between Roxadustat and Epogen.     the data were fully unblinded, with no
                                                              agreement from the FDA. Moreover, the
                           Specifically, Yu stated: “[W]hen FDA revealed that, during its pre-NDA
                           we tested time to—for example, meetings with FibroGen, the FDA in fact
                           MACE+ and MACE,                    “had a goal of 1.25, and that’s what we
                           Roxadustat was at least non-       discussed during meetings[,] [s]o that’s
                           inferior to [Epogen] even in the why there was not an agreement on
                           conversion stable dialysis         1.3.”
                           patients.”                         Fifth, with respect to Defendant Yu’s
                           19. Neff: in response to analyst   response to analyst questions regarding
                           questions, Neff stated that the    whether FibroGen believed it would
                           Company felt the ITT results       avoid the dreaded “Black Box” warning
                           were what “describe[ed] the        from the FDA, Defendants’ statement
                           situation most effectively,” and   that FibroGen was “comfortable with
                           asserted that an upper bound on safety” and believed that there would be
                           the hazard ratio of 1.3 under      no need for a “Black Box” warning was
                           the ITT analysis was the “safety not based on Defendants’ discussions
                           evaluation standard the FDA        with the FDA about what it wanted to
                           usually asks for.”                 see, but rather on Defendants’ post hoc
                           20. Yu: in response to an analyst manipulations       of the Roxadustat data in
                                                              order  to make    the  drug appear
                           question regarding whether         significantly    safer  than it was. Indeed, as
                           Roxadustat had achieved            the FDA    would    ultimately   reveal,
                           statistical non-inferiority on the Defendants     knew    that the under    the
                           FDA’s MACE endpoint, Yu            actual  prespecified     analyses   agreed   upon
                           stated: “[W]e are using the        with  the  FDA,    the  Roxadustat     safety data
                           conventional standards of          showed    that  the drug   had  far  too
                           noninferiority, which is widely
                           published for assessment of        numerous serious safety issues to be
                                                              approved at all, for any patient
                           CKD anemia and have                population, and regardless of any “Black
                           previously been used by [the       Box” warning. In fact, CW 3, the former
                           FDA] for assessment of
                           cardiovascular safety in similar Global     Vice President of Anemia
                                                              Therapeutics at AstraZeneca who was

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Stat.   CC      Speaker,         Defendants False and             Reasons Why Defendants’ Statements           Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and           Were False and Misleading When             Cogent and Compelling Inference
                Occasion               Omissions                                Made                              of Defendants’ Scienter

                             types of composite endpoints . .     directly involved in labeling
                             .that standard has been 1.3 for      conversations with FibroGen and the
                             upper bound of 95% confidence        FDA, stated that the FDA explicitly
                             interval. If we use that             determined that, at the very least,
                             standard, the answer is yes, we      Roxadustat’s alarming safety issues
                             have achieved non-inferiority.”      would undoubtedly require a “Black
                                                                  Box” warning—a conclusion Defendants
                             21. Yu: When directly asked by       knew the FDA would inevitably reach
                             an analyst whether FibroGen          based on Roxadustat’s safety results
                             believed it would avoid the          under the real prespecified analyses that
                             dreaded “Black Box” warning on       Defendants had concealed throughout the
                             Roxadustat’s label based on the      Class Period.
                             MACE safety data, Defendant
                             Yu responded: “[B]ased on
                             what we have seen, we are
                             pretty comfortable with safety.
                             The adjudicated composite
                             safety endpoint was something
                             that we have discussed with the
                             FDA.”
22      136-   Speaker(s):   22. FibroGen, Neff and              See reasons for falsity provided in          See facts giving rise to a strong,
        138,                 Cotroneo: FibroGen filed with       connection with Statements 1-21.             cogent and compelling inference of
               FibroGen,
        162,                 the SEC FibroGen’s Form 10-Q                                                     Defendants’ scienter provided in
               Neff (CEO),
        149-                 for Q1 2019, in which it                                                         connection with Statements 1-4, 8-
               Cotroneo
        151                  reiterated the topline MACE                                                      13 and 14-21.
               (CFO)         safety results set forth in the May                                              In addition, Defendant Cotroneo
               Date:         2019 Press Release.                                                              also made significant insider sales of
               May 9, 2019                                                                                    approximately $7 million that were
                             Specifically, for DD patients, the                                               suspicious in both timing and
               Occasion:     10-Q again stated that “[f]or the                                                amount, and which represented
                             U.S., where the focus will be on
               Q1 2019                                                                                        nearly 40% of his total vested
                             MACE, based on the collective
               Form 10-Q                                                                                      securities as of April 1, 2018, per
                             results of the various MACE                                                      FibroGen’s 2018 Proxy Statement.
                             analyses, we believe there is no
                             clinically meaningful difference
                             in MACE risks between
                             roxadustat and epoetin alfa.”

                             For incident dialysis, “there was
                             a trend toward reduced risk of

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Stat.   CC      Speaker,         Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                                Made                               of Defendants’ Scienter

                             MACE for patients on
                             roxadustat, compared to epoetin
                             alfa.”

                             For NDD, “[f]or the U.S., where
                             the focus will be on MACE,
                             based on the collective results of
                             the various MACE analyses, we
                             believe there is no clinically
                             meaningful difference in
                             MACE safety between
                             roxadustat and placebo in this
                             same non-dialysis population.”
23-     163-   Speaker(s):   23. Yu: Yu once again touted         In addition to the reasons for falsity set   See facts giving rise to a strong,
24      166                  Roxadustat’s Phase 3 trial results   forth above, Defendants’ statements          cogent and compelling inference of
               FibroGen,     and the “compelling evidence         during the Goldman Sachs conference          Defendants’ scienter provided in
               Neff (CEO),   confirming [R]oxadustat’s            were materially false and misleading and     connection with Statements 1-4, 8-
               Yu (CMO)      cardiovascular safety to support     omitted material facts for the following     13 and 14-21.
               Date:         our regulatory filings.”             additional reasons.
               June 12,                                           First, Defendants’ claims of “compelling
                             Yu reiterated that “our MACE
               2019                                               evidence confirming Roxadustat’s
                             results in dialysis and in non-      cardiovascular safety”; that they had
               Occasion:     dialysis also support the            “safety and efficacy data that’s superior
                             conclusion of no increased
               Goldman                                            to Epogen”; and that Roxadustat was
                             cardiovascular safety risk.”
               Sachs 40th                                         “differentiated” because it was “as safe
               Annual                                             as placebo” were plainly false, as
                             Yu also “emphasize[d] [the]
               Global                                             Defendants had secretly engaged in
                             MACE+ superiority in [the]
               Healthcare                                         blatantly improper post hoc
                             incident dialysis pool,” and
               Conference                                         manipulations to the Roxadustat clinical
                             touted certain “efficacy benefits”   trial data which were designed to make
                             of Roxadustat, including             the drug appear significantly better and
                             “transfusion reduction” and          safer than it was. As Defendants would
                             “improvement in quality of           admit in the April 6, 2021 press release,
                             life.”                               under the actual prespecified analyses
                             24. Neff: Neff similarly stated      and once the post hoc changes
                             that the Company was “in a           Defendants had made were corrected,
                             place now where we have safety       there was no “superiority” of Roxadustat
                             data and efficacy data that’s        over Epogen in the crucial incident
                             superior to [Epogen] in a U.S.       dialysis population.

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Stat.   CC     Speaker,        Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s   Date, and     Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
               Occasion              Omissions                                Made                               of Defendants’ Scienter

                           setting,” and further added:          Second, as the FDA would reveal at the
                                                                 end of the Class Period, under the FDA’s
                           “In the U.S., there are a couple      prespecified sensitivity analyses which
                           of factors related to how we’ve       Defendants never disclosed during the
                           differentiated ourselves and I        Class Period, Roxadustat’s safety signals
                           think in one respect doing the        were so alarming and “very
                           work to do [a] placebo study in       concern[ing]” that the drug was in truth
                           CKD and show that we are as           much more dangerous than placebo and
                           safe as the placebo control arm decidedly inferior to Epogen, rendering
                           is a very exciting place to be…       Roxadustat too dangerous to be approved
                           in an incident dialysis setting . . . at all, for any patient population.
                           we’ve had outstanding results in Accordingly, Defendants’ statement that
                           this area. We think it’s the most Roxadustat’s safety data would not
                           fair comparison of [Epogen] to        warrant any “Black Box” warning was
                           Roxa. We think it opens the           also materially false and misleading—as
                           door to Roxa being                    Defendants knew, their own undisclosed
                           recommended as a first                analyses showed that Roxadustat was
                           medicine . . . [I]t looks very,       less safe than Epogen, which already had
                           very promising at this point.”        the “Black Box” warning.
                           Neff also asserted that, based on Third, as Defendants knew, and as the
                           the MACE data the Company             FDA would reveal at the end of the Class
                           had seen, Roxadustat “shouldn’t Period, there was in fact no “statistically
                           have a ‘Black Box’” warning:          significant improvements” in quality-of-
                                                                 life measures for NDD patients taking
                           “[A] key goal in the U.S. was— Roxadustat nor was there any reduction
                           with CKD population, a placebo in blood transfusions—to the contrary,
                           study was to show non-inferior        the FDA saw no signs of any such
                           to placebo, to show that there        improvements at all.
                           isn’t any incremental risk
                           measure so that it opens the door
                           to the logic [that Roxadustat]
                           shouldn’t have a ‘Black Box’
                           for placebo. Therefore, Roxa
                           should not have a ‘Black Box’
                           and go from there in dealing with
                           dialysis. And it’s turned out as
                           we hoped for.”



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Stat.   CC       Speaker,        Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and     Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                 Occasion              Omissions                                Made                               of Defendants’ Scienter

25-     167-   Speaker(s): 25. Neff: Neff announced that          In addition to the reasons for falsity set   See facts giving rise to a strong,
27      168,               Company had “reached an                forth above, Defendants’ statements in       cogent and compelling inference of
               FibroGen,
        170    Neff (CEO), agreement    with the [FDA] on the     the Q2 2019 Earnings Call were               Defendants’ scienter provided in
                           content  of the NDA including          materially false and misleading, and         connection with Statements 1-4, 8-
               Yu (CMO)    the cardiovascular safety              omitted material facts when made, for the    13 and 14-21.
               Date:       analysis.”                             following additional reasons.
               August 8,   26. Yu: Yu then emphasized             Specifically, the Phase 3 clinical trials
               2019        Roxadustat’s MACE safety               did not “confirm[] the cardiovascular
                           results, stating that “Phase 3         safety of Roxadustat,” nor did
               Occasion:   results confirmed the                  Defendants have “very high” confidence
               Q2 2019     cardiovascular safety of               in Roxadustat’s MACE non-inferiority
               Earnings    [R]oxadustat.”                         based on the agreement FibroGen had
               Call                                               reached with the FDA on the statistical
                           Yu further touted FibroGen’s           analyses.
                           interactions with the FDA,             To the contrary, Defendants’ claims of
                           highlighting that the Company          Roxadustat’s “cardiovascular safety”
                           had a “very good pre-NDA               were the result of Defendants’ own post
                           meeting with the FDA on                hoc manipulations of the Roxadustat data
                           [R]oxadustat” where FibroGen           that were designed to make the drug
                           and the FDA reached an                 appear significantly safer than it was.
                           agreement “on our proposed
                           pooled MACE analysis.”                 As the FDA would reveal at the end of
                                                                  the Class Period, under the true,
                             Yu claimed that FibroGen was         undisclosed prespecified analyses
                             “very pleased with the               required by the FDA, Roxadustat’s safety
                             agreement [with the FDA] on          signals were so alarming and “very
                             the primary safety analysis of       concern[ing]” that the drug was much
                             our primary cardiovascular           more dangerous than placebo and
                             safety endpoint in NDD.”             decidedly inferior to Epogen—rendering
                                                                  Roxadustat too dangerous to be approved
                             27. Yu: In response to an analyst    at all, for any patient population.
                             question about whether
                             FibroGen had “confidence
                             around the statistics” in light of
                             the agreement reached with the
                             FDA, Yu expressed FibroGen’s
                             “confidence on non-inferiority
                             of MACE,” stating that the
                             Company’s “level of confidence
                             is very high, and we do believe .

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Stat.   CC       Speaker,        Defendants False and           Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and     Misleading Statements and         Were False and Misleading When              Cogent and Compelling Inference
                 Occasion              Omissions                              Made                               of Defendants’ Scienter

                             . . that our Phase 3 results
                             confirm cardiovascular safety
                             of [R]oxadustat in the CKD
                             population in both dialysis and
                             non-dialysis.”

                             Yu also further emphasized that
                             “on the safety side– the ability
                             to demonstrate a drug is as safe
                             as placebo which is a very high
                             bar, because placebo is
                             considered to give the drug an
                             opportunity to show how safe it
                             is based on its own merit.”
28      169-   Speaker(s): 28. Defendants: The 10-Q stated      See reasons for falsity provided in          See facts giving rise to a strong,
        170                that the Company “reached            connection with Statements 25-27.            cogent and compelling inference of
               FibroGen,                                                                                     Defendants’ scienter provided in
               Neff (CEO), agreement    on the content to be
                           included  in  our NDA                                                             connection with Statements 1-4, 8-
               Cotroneo    submission    package for                                                         13 and 14-21.
               (CFO)       Roxadustat for treatment of
               Date:       anemia in CKD, including the
                           cardiovascular safety analyses
               August 8,   for both CKD-dialysis and
               2019        CKD-non-dialysis. The
               Occasion:   agreement for non-dialysis is an
                           approach to account for the
               Form 10-Q
               for Q2 2019 differential dropout between
                           roxadustat and placebo observed
                           in our Phase 3 studies. We are
                           confident we have sufficient
                           data for FDA review of our
                           NDA in both CKD dialysis and
                           CKD non-dialysis and we are
                           planning to submit the NDA in
                           October of 2019.”
29-     171-   Speaker(s):   29. FibroGen: In the press         In addition to the reasons for falsity set   See facts giving rise to a strong,
32      175                  release, which was also filed      forth above, Defendants’ statements in       cogent and compelling inference of
               FibroGen      with the SEC on Form 8-K,          the ASN 2019 Press Release were              Defendants’ scienter provided in
               Date:         FibroGen announced that (i)        materially false and misleading, and

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Stat.   CC       Speaker,         Defendants False and            Reasons Why Defendants’ Statements         Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and      Misleading Statements and          Were False and Misleading When           Cogent and Compelling Inference
                 Occasion               Omissions                               Made                            of Defendants’ Scienter

               November       “Roxadustat cardiovascular          omitted material facts when made, for the connection with Statements 1-4, 8-
               8, 2019        safety [was] comparable to          following additional reasons.              13 and 14-21.
                              placebo in [NDD] patients”
               Occasion:                                          First, as Defendants would admit in the
                              under MACE; (ii) it “did not        April 6, 2021 press release, the
               Press          increase risk of MACE and           statements Defendants made about the
               release        reduced risk of MACE+               safety and efficacy results for
               announcing     compared to [Epogen]” in DD         Roxadustat—including the specific
               “Positive      patients; and (iii) that it         MACE hazard ratios and Defendants’
               Phase 3        purportedly “reduced risk of        claims that they had achieved “non-
               Pooled         MACE by 30% and MACE+ by            inferiority” compared to placebo and
               Roxadustat     34% compared to [Epogen]” in        statistical superiority compared to
               Safety and     the crucial incident dialysis       Epogen in the crucial incident dialysis
               Efficacy       population.                         population—were materially false
               Results”       30. FibroGen: In the press          because Defendants had post hoc
               that had       release, FibroGen reported a        manipulated the data to make the drug
               been           MACE hazard ratio of 0.96           appear significantly better and safer than
               presented at   (95% confidence interval, 0.82      it was. Thus, as Defendants would be
               ASN            to an upper bound of 1.13) for      forced to admit in the April 6, 2021 press
               Kidney         DD patients; a MACE hazard          release, rather than Roxadustat lowering
               Week 2019      ratio of 1.08 (95% confidence       the MACE risk in the crucial incident
               (“ASN 2019     interval, 0.94 to an upper bound    dialysis population by a statistically
               Press          of 1.24) in NDD patients.; and a    significant 30%, once the post hoc
               Release”)      MACE hazard ratio of 0.70           changes were corrected Defendants
                              (95% confidence interval, 0.51      could not “conclude that Roxadustat
                              to an upper bound of 0.96) in       reduces the risk of (or is superior to)
                              incident dialysis patients.         MACE+ in [DD], and MACE and
                                                                  MACE+ in incident dialysis compared
                              31. FibroGen: The press release     to [Epogen]” at all.
                              proclaimed that, in total, “[t]he
                              pooled safety analyses assessing    Second, as Defendants well knew, under
                              Roxadustat . . . demonstrate a      the prespecified analyses Defendants had
                              cardiovascular safety profile       agreed upon with the FDA—and in
                              comparable with placebo in          particular the prespecified sensitivity
                              [NDD] patients, and comparable      analyses Defendants concealed from
                              or in some cases better than that   investors throughout the Class Period—
                              of [Epogen] in patients on          Roxadustat’s cardiovascular safety was
                              dialysis.”                          not “comparable to placebo” in NDD
                                                                  patients, nor was it comparable to
                              32. FibroGen: The press release     Epogen in DD patients. To the contrary,
                              expressly clarified that for NDD    Roxadustat’s safety signals were so
                              patients, the results were based

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Stat.   CC      Speaker,         Defendants False and            Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and          Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                               Made                               of Defendants’ Scienter

                             on the “ITT analysis agreed         alarming and “very concern[ing]” that
                             with the FDA” and that the          the drug was in fact much more
                             “[r]isks of MACE, MACE+,            dangerous than placebo, and decidedly
                             and all-cause mortality in          inferior to Epogen—rendering
                             Roxadustat patients were            Roxadustat too dangerous to be approved
                             comparable to placebo in the        at all, for any patient population.
                             ITT analyses based on a             Third, Defendants’ claims that
                             reference non-inferiority           Roxadustat had achieved inferiority in
                             margin of 1.3.”                     the MACE endpoint by referencing the
                                                                 non-inferiority margin of 1.3 were also
                             In the DD patient population, the   false. As set forth above, the FDA’s goal
                             release stated that “[r]isks of     for the Roxadustat trials was a non-
                             MACE and all-cause mortality        inferiority margin of 1.25, not 1.3—and
                             in Roxadustat patients were not     in fact, the FDA had expressly rejected
                             increased compared to those for     FibroGen’s proposal of the 1.3 non-
                             patients receiving [Epogen]         inferiority margin because it had chosen
                             based on a reference non-           that margin for itself post hoc, after the
                             inferiority margin of 1.3” and      data had been fully unblinded.
                             further claimed that “[r]isk of
                             MACE+ was 14% lower in              Moreover, under the FDA prespecified
                             Roxadustat-treated patients         analyses that FibroGen never disclosed—
                             than in those receiving             and which were in fact disclosed by the
                             [Epogen.].”                         FDA during the July 15, 2021 AdCom—
                                                                 Roxadustat’s hazard ratio margins
                             For the crucial incident dialysis   actually greatly exceeded 1.3, with the
                             population, the release stated      NDD margin reaching 1.70 under MACE
                             that the “[r]isk of MACE was        and 1.82 under all-cause mortality, and
                             30% lower in Roxadustat             the DD margin reaching 1.3 under
                             patients than in epoetin alfa       MACE and 1.35 under all-cause
                             patients, and risk of MACE+         mortality. These undisclosed analyses
                             was 34% lower.”                     were highly material, as the FDA’s
                                                                 AdCom meeting minutes and hearing
                                                                 transcript confirmed that they contributed
                                                                 significantly to the AdCom panel’s
                                                                 overwhelming vote recommending
                                                                 against the approval of Roxadustat for
                                                                 any patient population.
33-     177-   Speaker(s):   33. Schoeneck: Defendant            In addition to the reasons for falsity set   See facts giving rise to a strong,
35      178,                 Schoeneck, the Company’s            forth above, Defendants’ statements in       cogent and compelling inference of
                             Interim CEO at the time             the 3Q 2019 Earnings Call were               Defendants’ scienter provided in

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Stat.   CC       Speaker,        Defendants False and           Reasons Why Defendants’ Statements          Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and     Misleading Statements and         Were False and Misleading When            Cogent and Compelling Inference
                 Occasion              Omissions                              Made                             of Defendants’ Scienter

        182-   FibroGen,     following former CEO Neff’s        materially false and misleading, and       connection with Statements 1-4, 8-
        183    Schoeneck     passing, reaffirmed that           omitted material facts when made, for the 13 and 14-21.
               (Int. CEO),   Roxadustat’s “cardiovascular       following additional reasons.
               Yu (CMO)      safety was comparable to           First, as Defendants well knew, the
                             placebo in [NDD] patients”; “in
               Date:                                            detailed MACE safety results they had
                             [DD] patients, roxa[] did not      presented were not “based on the agreed
               November      increase the risk of MACE and      upon analysis plan that we have made
               11, 2019      reduce[d] the risk of MACE+        with the FDA,” as the exact opposite was
                             compared to [Epogen]”; and in
               Occasion:                                        true. In reality, they were based on
                             “incident dialysis patients,       FibroGen’s own post hoc analysis of the
               3Q 2019       roxa[] reduced MACE by 30%         Roxadustat trial data conducted after the
               Earnings      and MACE+ by 34% compared          data was unblinded and manipulated to
               Call          to [Epogen],” which was            make the data appear significantly better
                             purportedly “unlike anything       than it was. Indeed, Defendants would
                             currently on the market in the     admit on April 6, 2021 that the hazard
                             U.S. or Europe.”                   ratios for each of the patient populations
                             34. Yu: Defendant Yu               under the prespecified FDA analyses
                             responded to questions about       were in fact, in the words of market
                             recent “investor concern about     analysts, “meaningfully worse” in every
                             FDA agreements and FDA             patient population. Defendants therefore
                             signoff,” including a November     knew that they did not have what they
                             4, 2019 short report authored by   needed for a “winning submission” to the
                             short seller Plainview Capital     FDA for Roxadustat. Moreover, under
                             LLC. Yu reassured investors        the FDA’s actual prespecified analyses,
                             that the Company had “a very       Roxadustat’s safety signals were so
                             productive dialogue with the       alarming and “serious” that the drug was
                             FDA on the analysis of             in fact much more dangerous than
                             cardiovascular safety” and that,   placebo, and decidedly inferior to and
                             “walking out of it, we felt that   caused more deaths than Epogen—
                             we had all the guidance from       rendering Roxadustat too dangerous to be
                             the FDA we needed to put           approved at all, for any patient
                             together a winning submission.”    population.
                             Yu: When further pressed on        Second, Defendants’ claims that
                             whether Yu had any concern         Roxadustat had achieved non-inferiority
                             “about the hazard ratios and the   in the MACE endpoint by referencing the
                             upper bounds,” Yu responded        non-inferiority margin of 1.3 was also
                             that she had “no concern about     false. As set forth above, the FDA
                             that” and that FibroGen was        revealed during the AdCom that it had
                                                                never agreed with FibroGen on a non-

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Stat.   CC       Speaker,         Defendants False and              Reasons Why Defendants’ Statements           Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and      Misleading Statements and            Were False and Misleading When             Cogent and Compelling Inference
                 Occasion               Omissions                                 Made                              of Defendants’ Scienter

                              “very comfortable with our data       inferiority hazard ratio margin of 1.3—to
                              where it is now.”                     the contrary, based on prior experience
                                                                    with ESAs, the FDA’s goal was a non-
                              35. Yu: On the call when Yu           inferiority margin of 1.25. Moreover,
                              was asked again about whether         under the FDA prespecified sensitivity
                              the FDA had signed off on the         analyses that FibroGen never disclosed—
                              analyses the Company had              and which were in fact disclosed by the
                              presented, Yu responded:              FDA during the July 15, 2021 AdCom—
                                                                    Roxadustat’s hazard ratio margins were
                              So the answer to that question is     significantly worse and in fact greatly
                              that we had already talked with       exceeded 1.25 and 1.3 in every key
                              the FDA about [the] analytical        endpoint.
                              plan, and we had made the
                              agreement on the analysis plan.
                              The results that we have
                              presented in the high-impact
                              clinical session at the ASN, and
                              the numbers I had just
                              presented, were based on the
                              agreed upon analysis plan that
                              we have made with the FDA . . .
                              [W]e are confident that we do
                              have what it takes for this drug
                              to be favorably evaluated.
36      179,   Speaker(s):    36. FibroGen: The short seller        See reasons for falsity provided in         See facts giving rise to a strong,
        182-                  BuyersStrike published an email       connection with Statements 33-35.           cogent and compelling inference of
               FibroGen
        183                   it received from FibroGen in                                                      Defendants’ scienter provided in
               Date:          response to its report. Iin the                                                   connection with Statements 1-4, 8-
                              email, FibroGen asserted: “We                                                     13 and 14-21.
               November       do not agree with this report . . .
               14, 2019       The data presented at [ASN]
               Occasion:      reflect the analytical methods
                              and study pools agreed upon
               Email to       with the FDA.”
               Buyers
               Strike, the
               author of a
               November
               12, 2019
               short report


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Stat.   CC       Speaker,        Defendants False and            Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and     Misleading Statements and          Were False and Misleading When              Cogent and Compelling Inference
                 Occasion              Omissions                               Made                               of Defendants’ Scienter

37-     181-   Speaker(s):   37. Defendants: The 10-Q            See reasons for falsity provided in          See facts giving rise to a strong,
38      183                  presented how the                   connection with Statements 33-35.            cogent and compelling inference of
               FibroGen,     “cardiovascular safety analysis                                                  Defendants’ scienter provided in
               Schoeneck     reflects the pooling strategy and                                                connection with Statements 1-4, 8-
               (Int. CEO),   analytical approach we agreed                                                    13 and 14-21.
               Cotroneo      on with the FDA.”
               (former                                                                                        In addition, Defendant Schoeneck
               CFO)          38. The 10-Q added that in                                                       received over $5.2 million in total
                             FibroGen’s “pre-NDA meeting,                                                     compensation for his short role as
               Date:         the FDA agreed that the ITT-                                                     interim CEO of FibroGen in 2019.
               November      analysis would be our primary                                                    Schoeneck also made substantial
               12, 2019      cardiovascular safety analysis                                                   insider sales, yielding him
               Occasion:     method for non-dialysis in the                                                   approximately $500 thousand in
               Form 10-Q     U.S. as it uses on-treatment and                                                 proceeds during that short time.
               for Q3 2019   post-treatment long term follow-                                                 ¶¶137-138.
                             up (until a common study end
                             date) to account for the higher
                             drop-out rate in the placebo arm.
                             The figure below shows that in
                             the 4,270 pooled non-dialysis
                             patients (OLYMPUS, ANDES,
                             and ALPS), the risk of MACE,
                             MACE+, and all-cause
                             mortality in Roxadustat patients
                             were comparable to that in
                             placebo patients based on a
                             reference non-inferiority
                             margin of 1.3.”
39-     184-   Speaker(s):   39. Conterno: At the                In addition to the reasons for falsity set   See facts giving rise to a strong,
43      186                  conference, Defendant Conterno      forth above, Defendant Conterno’s            cogent and compelling inference of
               FibroGen,     stated that “the [Roxadustat]       statements in the SVB Leerink Global         Defendants’ scienter provided in
               Conterno      data that we have on                Healthcare Conference were materially        connection with Statements 1-4, 8-
               (CEO)         cardiovascular safety is very       false and misleading, and omitted            13 and 14-21.
               Date:         compelling.”                        material facts when made, for the
                                                                 following additional reasons.
               February      40. Conterno: Defendant
               25, 2020      Conterno went on to say that        First, Defendants’ claims of “very
                             “when we look at the data,          compelling” cardiovascular safety data
               Occasion:     basically – we basically show to    for Roxadustat, and that Roxadustat was
               SVB           be comparable to placebo” and       “comparable to placebo,” were plainly
               Leerink       that “our data [is] extremely       false because they were based on

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Stat.   CC      Speaker,        Defendants False and              Reasons Why Defendants’ Statements           Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and     Misleading Statements and            Were False and Misleading When             Cogent and Compelling Inference
                Occasion              Omissions                                 Made                              of Defendants’ Scienter

               Global       clean … from my perspective           Defendants’ post hoc manipulations of
               Healthcare   when it comes to cardiovascular       the Roxadustat data that were designed to
               Conference   safety.”                              make the data appear significantly better
                                                                  and safe than it was. In truth, under the
                            41. Conterno: Conterno                FDA’s prespecified analyses,
                            emphasized that “we have a trial      Roxadustat’s safety signals were so
                            that, in my view, basically,          alarming and “serious” that the drug was
                            shows safety against what I           much more dangerous than placebo and
                            think is a very high hurdle of        decidedly inferior to and caused more
                            placebo.”                             deaths than Epogen, the current standard
                            42. Conterno: Conterno further        of care for which there was already a
                            asserted that, based on his review    “Black Box” warning—rendering
                            of the data, “I do not believe that   Roxadustat too dangerous to be approved
                            the data warrants a ‘Black            at all, for any patient population. For
                            Box’” warning, and while not          this reason, Defendants’ suggestion that
                            receiving the warning would           Roxadustat’s safety data would not
                            require Roxadustat to meet “a         warrant any “Black Box” warning was
                            pretty high standard,” Conterno       also materially false and misleading—as
                            was “very excited and delighted       Defendants knew, Roxadustat was
                            with the results that we got . . .    already less safe than Epogen, which
                            out of cardiovascular safety.”        itself already had the “Black Box”
                                                                  warning.
                            43. Conterno: Conterno further
                            asserted that based on the only       Second, Defendants’ claims that
                            guidance the Company had              Roxadustat had achieved inferiority in
                            purportedly received from the         the MACE endpoint by referencing the
                            FDA, which was for diabetes,          non-inferiority margin of 1.3 was also
                            there was “a 1.3 upper bound”         false. As set forth above, the FDA
                            for non-inferiority, and “when        revealed during the AdCom that it had
                            we looked at the pooled analysis      never agreed with FibroGen on a non-
                            . . we do basically see hazard        inferiority hazard ratio margin of 1.3—to
                            ratios, about 1—slightly higher       the contrary, based on prior experience
                            than 1, but the upper bound in        with ESAs the FDA’s goal was a non-
                            each one of these cases, is below     inferiority margin of 1.25. Moreover,
                            1.3.”                                 under the FDA prespecified analyses that
                                                                  FibroGen never disclosed—and which
                                                                  were in fact disclosed by the FDA only
                                                                  during the July 15, 2021 AdCom—
                                                                  Roxadustat’s hazard ratio margins were



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Stat.   CC       Speaker,        Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and     Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                 Occasion              Omissions                                Made                               of Defendants’ Scienter

                                                                  significantly worse and reached or
                                                                  exceeded 1.3 in every key endpoint.
44      187-   Speaker(s):   44. Yu: Defendant Yu stated          In addition to the reasons for falsity       See facts giving rise to a strong,
        188                  that “[R]oxadustat can               provided in connection with Statements       cogent and compelling inference of
               FibroGen,     potentially better address CKD       1-4, 8-13, 14-21, 23-24, 25-27, 29-32,       Defendants’ scienter provided in
               Yu (CMO)      anemia than what is currently        33-35, and 39-43, Defendant Yu’s             connection with Statements 1-4, 8-
               Date:         available to CKD patients on         statements in the 4Q and FY 2019             13 and 14-21.
                             dialysis and those not on            Earnings Call were materially false and
               March 2,      dialysis” due to “the robust         misleading, and omitted material facts
               2020          efficacy and safety profile          when made, for the following additional
               Occasion:     demonstrated.”                       reasons.
               4Q and FY                                          First, Defendants’ claims of
                             In particular, Yu referenced the
               2019                                               Roxadustat’s “robust” safety and efficacy
                             purported “lower transfusion
               Earnings                                           data, and that Roxadustat had
                             risk than [Epogen] patients,
               Call                                               “demonstrated a meaningful reduction”
                             while lowering MACE+ risk in         in MACE and MACE+ risk over Epogen
                             the dialysis patient pool” and       for the incident dialysis population, were
                             highlighted that the Company         plainly false as these statements were
                             was “particularly excited about      based on Defendants’ post hoc
                             the cardiovascular safety results    manipulations of the Roxadustat data that
                             of the incident dialysis             were designed to make the drug appear
                             population,” which purportedly       significantly safer than it was. As
                             “demonstrated a meaningful           Defendants admitted on April 26, 2021—
                             reduction in cardiovascular          and contrary to Defendants’ statements
                             safety risk, as Roxadustat-          above—under the actual prespecified
                             treated incident dialysis patients   analyses agreed upon with the FDA, “we
                             had a 30% lower MACE risk            cannot conclude that Roxadustat reduces
                             and a 34% lower MACE+ than           the risk of (or is superior to) MACE+ in
                             [Epogen]-treated patients.”          [DD], and MACE and MACE+ in
                                                                  incident dialysis compared to [Epogen].”
                             Yu further stated that, “with
                             respect to cardiovascular safety,    Second, under the FDA’s prespecified
                             Roxadustat was comparable to         sensitivity analyses that Defendants
                             placebo in risk of MACE and          never disclosed during the Class Period,
                             MACE+” and that “we have             Roxadustat’s safety signals were so
                             designed a program to                alarming and “serious” that the drug was
                             demonstrate safety in                much more dangerous than (and not at all
                             comparison to placebo and with       comparable to) placebo and decidedly
                             the hope and confidence of           inferior to and causing more deaths than
                                                                  Epogen, the current standard of care for

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Stat.   CC       Speaker,        Defendants False and          Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and     Misleading Statements and        Were False and Misleading When              Cogent and Compelling Inference
                 Occasion              Omissions                             Made                               of Defendants’ Scienter

                             gaining clean safety label for    which there was already a “Black Box”
                             non-dialysis.”                    warning—rendering Roxadustat too
                                                               dangerous to be approved at all, for any
                                                               patient population. For this reason,
                                                               Defendants’ suggestion that Roxadustat’s
                                                               safety data would warrant a “clean safety
                                                               label” for NDD patients was similarly
                                                               false—as Defendants knew, Roxadustat
                                                               was already less safe than Epogen, which
                                                               itself already had the “Black Box”
                                                               warning.
45      187-   Speaker(s):   45. Defendants: The Form 10-K     See reasons for falsity provided in          See facts giving rise to a strong,
        188                  reiterated the detailed MACE      connection with Statements 29-32 and         cogent and compelling inference of
               FibroGen,     safety results set forth in the   39-44.                                       Defendants’ scienter provided in
               Conterno      November 8, 2019 and March 2,                                                  connection with Statements 1-4, 8-
               (CEO) and     2020 press releases.                                                           13 and 14-21.
               Cotroneo
               (CFO)
               Date:
               March 2,
               2020
               Occasion:
               2019 Form
               10-K
46-     189,   Speaker(s): 46. Yu: Regarding Roxadustat        In addition to the reasons for falsity set   See facts giving rise to a strong,
49      191                safety, Defendant Yu stated that    forth above, Defendant Yu’s statements       cogent and compelling inference of
               FibroGen,   “[i]mportantly, we have             in the 1Q 2020 Earnings Call were            Defendants’ scienter provided in
               Yu (CMO)    demonstrated cardiovascular         materially false and misleading, and         connection with Statements 1-4, 8-
                           safety in the overall dialysis      omitted material facts when made, for the    13 and 14-21.
                           population and in MACE . . . In     following additional reasons.
               Date:       our 1,530-incident dialysis         Defendants knew that they had not
               May 7, 2020 patient pool, where the             “demonstrated cardiovascular safety” for
                           comparison between Roxadustat
               Occasion:                                       Roxadustat, that Roxadustat was not
                           with epoetin alpha started within   comparable to placebo or Epogen, and
               1Q 2020     the first 4 months of dialysis      that it was not statistically superior to
               Earnings    initiation, Roxadustat had a        Epogen in the incident dialysis
               Call        30% lower risk of MACE and          population. Indeed, unbeknownst to
                           34% lower risk of MACE+ than

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Stat.   CC      Speaker,         Defendants False and            Reasons Why Defendants’ Statements           Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and          Were False and Misleading When             Cogent and Compelling Inference
                Occasion               Omissions                               Made                              of Defendants’ Scienter

                             epoetin alfa, with a trend          investors, Defendants’ had improperly
                             towards lower or cause              post hoc manipulated the Roxadustat data
                             mortality, relative to epoetin      to make the drug appear significantly
                             alfa.”                              better and safer than it was. As
                                                                 Defendants were forced to admit on April
                             47. Yu: With respect to DD          6, 2021—and contrary to Defendants’
                             patients, Yu stated “looking at     statements above highlighting the
                             safety -- cardiovascular safety,    purported statistically significant 30%
                             it does not change any of the       and 34% reduction in MACE and
                             conclusions that we have on the     MACE+ risk in the crucial incident
                             -- about Roxadustat being safe      dialysis population—under Roxadustat’s
                             and efficacious.”                   undisclosed prespecified analyses, there
                             48. Yu: With respect to NDD         was no evidence of any purported
                             patients, Yu asserted that          reduction of MACE risk in this
                             “placebo is the gold standard.      population at all.
                             With -- in comparison to            Furthermore, as the FDA would
                             placebo, we have demonstrated       determine during the July 15, 2021
                             that cardiovascular safety in the   AdCom, under the prespecified
                             MACE endpoint and MACE+             sensitivity analyses that Defendants had
                             endpoint.”                          concealed from investors, Roxadustat
                             49. Yu: Yu stated that, “in         was decidedly inferior to placebo and
                             conclusion, Roxadustat,             Epogen, despite Epogen’s “Black Box”
                             excellent cardiovascular safety     warning.”
                             profile, coupled with the           Moreover, Defendants knew that
                             statistically significant and       Roxadustat’s efficacy was also not
                             clinically meaningful, higher       superior to Epogen. As the FDA would
                             hemoglobin efficacy results and     determine, Roxadustat’s efficacy benefits
                             lower transfusion rate relative     compared to existing therapies were, at
                             to epoetin alfa, together makes     best, “unclear” and “difficult to
                             Roxadustat potentially a better     calculate,” with the FDA stating that the
                             treatment option for dialysis-      claimed reduction in blood transfusions
                             dependent patients. We like the     versus Epogen was inconclusive at best
                             hand that we have and expect        and likely nonexistent at the untested
                             the product label to reflect the    lower doses that the Company was
                             results of clinical trials on our   ultimately forced to propose in order to
                             compound.”                          address significant safety issues.
50      190-   Speaker(s):   50. Conterno: “[A]s I think         See reasons for falsity provided in         See facts giving rise to a strong,
        191                  about the differentiation of        connection with Statements 46-49.           cogent and compelling inference of
                             Roxa, number one, I think you                                                   Defendants’ scienter provided in

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                 Occasion               Omissions                                Made                               of Defendants’ Scienter

               FibroGen,      have to start with efficacy . . .                                                 connection with Statements 1-4, 8-
               Conterno       We actually had lower                                                             13 and 14-21.
               (CEO)          transfusions with Roxa than                                                       In addition, by this time—the spring
                              with [Epogen] . . . So that
               Date:                                                                                            of 2020—Defendant Conterno
                              benefit to me, I think, is pretty                                                 claimed that FibroGen was actively
               May 14,        significant. Clearly, in the—                                                     preparing for a potential FDA
               2020           when we look at the totality of                                                   AdCom, which involved reviewing
                              the data, I find our overall
               Occasion:                                                                                        all of the information in the NDA,
                              cardiovascular data pretty                                                        including the improper presentation
               Bank of        compelling. And in particular, I                                                  of the Company’s post hoc analysis
               America        think we need to highlight the                                                    in that document that FibroGen
               Securities     incident dialysis data, whereby                                                   would later admit on April 6, 2021
               2020 Health    we basically show a reduction                                                     that it had to promptly “clarify” with
               Care           in risk of MACE events at a                                                       the agency. ¶¶86-87.
               Conference     time that is critical. And this
                              is—incident dialysis, basically,
                              covers those patients within the
                              first 4 months of starting
                              dialysis. That is the time when a
                              treatment decision is made when
                              it comes to anemia . . . So that I
                              find also quite meaningful. And
                              clearly the data is highly—it
                              was—compared to [Epogen],
                              it’s highly differentiated based
                              on what we can see.”
51      192,   Speaker(s):    51. Conterno: Regarding              In addition to the reasons for falsity set   See facts giving rise to a strong,
        194                   whether FibroGen expected a          forth above, Defendant Conterno’s            cogent and compelling inference of
               FibroGen,      “Black Box” warning, Conterno        statements at the Jefferies 2020             Defendants’ scienter provided in
               Conterno       stated: “[W]hen we look at our       Healthcare Conference were materially        connection with Statements 1-4, 8-
               (CEO)          data, I feel it basically shows      false and misleading, and omitted            13, 14-21 and 50.
               Date:          that the product is safe because     material facts when made, for the
                              of the safety profile when it        following additional reasons.
               June 2, 2020   comes to CV comparable to            As the FDA would expressly determine,
               Occasion:      placebo . . . [I]n [DD], when it     Roxadustat’s efficacy benefits compared
                              comes to incident dialysis, we do
               Jefferies                                           to existing therapies were, at best,
                              show an actual significant
               2020                                                “unclear” and “difficult to calculate,”
                              benefit, well, with a 30%
               Healthcare                                          with the FDA stating that the claimed
                              reduction in MACE . . . When I
               Conference                                          reduction in blood transfusions versus
                              put those two reasons together, I

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               Occasion              Omissions                              Made                                 of Defendants’ Scienter

                           look at the compelling nature of   Epogen Defendant Conterno touted was
                           our data, and I feel that . . .    in fact inconclusive at best and likely
                           there’s no warrant [for a] Black   nonexistent at the untested lower doses
                           Box . . .”                         that the Company was ultimately forced
                                                              to propose in order to address significant
                                                              safety issues.
                                                              Furthermore, Defendant Conterno’s
                                                              statements that Roxadustat was “safe,”
                                                              “comparable to placebo,” and had shown
                                                              a “significant benefit” in incident dialysis
                                                              patients by lowering the MACE and
                                                              MACE+ risk by a statistically significant
                                                              30% and 34%, respectively, were plainly
                                                              false, as all of these statements were
                                                              based on Defendants’ post hoc
                                                              manipulations of the Roxadustat data to
                                                              make it appear significantly better and
                                                              safer than it was. Indeed, the purported
                                                              “statistically significant” and
                                                              “unbelievable” MACE benefit in incident
                                                              dialysis patients was only present under
                                                              Defendants’ post hoc analysis
                                                              manipulating the safety data to look
                                                              much better than it was— as Defendants
                                                              admitted on April 6, 2021, under the
                                                              actual prespecified analyses agreed upon
                                                              with the FDA, Defendants could not
                                                              “conclude that Roxadustat reduces the
                                                              risk of . . . MACE and MACE+ in
                                                              incident dialysis compared to [Epogen].”
                                                              Moreover, rather than the Roxadustat
                                                              data not warranting a “Black Box”
                                                              warning, in truth, under the FDA’s
                                                              prespecified sensitivity analyses that
                                                              Defendants never disclosed to investors,
                                                              Roxadustat’s safety signals were so
                                                              alarming and “serious” that the drug was
                                                              inferior to Epogen, which already carried
                                                              a “Black Box” warning—rendering

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Stat.   CC       Speaker,         Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and      Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                 Occasion               Omissions                                Made                               of Defendants’ Scienter

                                                                   Roxadustat too dangerous to be approved
                                                                   at all.
52      193-   Speaker(s):    52. Conterno: Conterno stressed See reasons for falsity provided in               See facts giving rise to a strong,
        194                   to investors the importance of       connection with Statements 51.               cogent and compelling inference of
               FibroGen,      the MACE safety results in                                                        Defendants’ scienter provided in
               Conterno       incident dialysis patients, stating:                                              connection with Statements 1-4, 8-
               (CEO)                                                                                            13, 14-21 and 50.
               Date:          “Importantly, CV safety was
                              demonstrated across all studied
               June 4, 2020   populations. Non-dialysis-
               Occasion:      dependent, incident dialysis and
                              dialysis dependent... In incident
               2020           dialysis patients, Roxadustat
               Annual         reduced risk of major adverse
               Shareholder    cardiovascular events or MACE
               Meeting        by 30%. And reduce[d] the risk
                              of MACE+ by 34% compared to
                              [Epogen]. Both results were
                              statistically significant . . .
                              Roxadustat clearly provides a
                              large clinical benefit in the
                              incident dialysis patient
                              population, and we believe this
                              is a natural decision point for
                              health care professional[s] when
                              selecting which therapeutic
                              agent will be utilized in the
                              treatment of anemia.”
53-     195-   Speaker(s):    53. Conterno: During the             In addition to the reasons for falsity set   See facts giving rise to a strong,
55      197                   conference, Conterno stated:         forth above, Defendant Conterno’s            cogent and compelling inference of
               FibroGen,                                           statements at the Goldman Sachs 41st         Defendants’ scienter provided in
               Conterno       “I think as you know, I've been      Annual Global Healthcare Conference          connection with Statements 1-4, 8-
               (CEO)          very excited about our incident      were materially false and misleading, and    13, 14-21 and 50.
               Date:          dialysis data and the fact that we   omitted material facts when made, for the
                              showed a 30% reduction in            following additional reasons.
               June 9, 2020   MACE risk and 34% when it            Indeed, the purported “statistically
               Occasion:      comes to MACE plus. Honestly,        significant” MACE benefit in incident
                              that's huge and that's an
               Goldman                                             dialysis patients taking Roxadustat was
                              anchor. Because as patients start
               Sachs 41st                                          only present under Defendants’ post hoc

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Stat.   CC      Speaker,         Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                                Made                               of Defendants’ Scienter

               Annual        dialysis, clearly part of that       analysis manipulating the safety data to
               Global        dialysis initiation is going to be   look much better than it was. As
               Healthcare    treatment of anemia. And I           Defendants admitted on April 6, 2021,
               Conference    believe that we have the very        rather than lowering the MACE and
                             best data. It's quite compelling     MACE+ risk in incident dialysis patients
                             and differentiated.”                 by a statistically significant 30% and
                                                                  34%, respectively, the actual prespecified
                             54. Conterno: Conterno later         analyses agreed upon with the FDA
                             reiterated that Roxadustat had       showed the exact opposite, to the point
                             “showed a significant benefit        that Defendants were forced to admit that
                             when it comes to MACE in [the        they could not “conclude that Roxadustat
                             incident dialysis] population,       reduces the risk of . . . MACE and
                             30% reduction in MACE,”              MACE+ in incident dialysis compared to
                             which was an “unbelievable           [Epogen]”—meaning that there was no
                             result” and “probably the most       evidence of any purported reduction of
                             compelling data that we have.”       MACE risk in this population at all.
                             55. Conterno: Conterno further       Moreover, rather than the Roxadustat
                             represented that “given that         data not warranting a “Black Box”
                             [FibroGen] showed [Roxadustat        warning, the exact opposite was true.
                             had] basically comparable            Under the FDA’s prespecified sensitivity
                             safety to placebo”—which was         analyses that Defendants never disclosed
                             “very difficult to achieve”—the      to investors, Roxadustat was decidedly
                             Company had “the very best           inferior to Epogen—rendering
                             chance basically to have a label     Roxadustat too dangerous to be approved
                             without a ‘Black Box.”               at all.


56-     198,   Speaker(s):   56. Conterno: While Conterno         In addition to the reasons for falsity set   See facts giving rise to a strong,
57      200                  stated that moving forward, there    forth above, Defendant Conterno’s            cogent and compelling inference of
               FibroGen,     would be no public discussion        statements during the 2Q 2020 Earnings       Defendants’ scienter provided in
               Conterno      regarding labeling, he stated        Call were materially false and               connection with Statements 1-4, 8-
               (CEO)         “clearly, we view that               misleading, and omitted material facts       13, 14-21 and 50.
               Date:         Roxadustat will be successful --     when made, for the following additional
                             I think I've mentioned this to you   reasons.
               August 6,     and others in the past, very
               2020                                               Defendants’ claim that “Roxadustat will
                             successful regardless… We            be successful,” that FibroGen had
               Occasion:     continue to view that our data       “positive” “engagement with the FDA,”
                             shows a very positive benefit-       and that the Company had “positive”
                             risk profile for the product.”       MACE results for Roxadustat that

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Stat.   CC      Speaker,         Defendants False and          Reasons Why Defendants’ Statements           Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and        Were False and Misleading When             Cogent and Compelling Inference
                Occasion               Omissions                             Made                              of Defendants’ Scienter

               2Q 2020       57. Conterno: Conterno added,     supported the NDA submission were
               Earnings      “our engagement and our           plainly false because all of these
               Call          interaction with the FDA was      statements were entirely dependent upon
                             positive. So we feel good about   Defendants’ own post-hoc manipulations
                             the progress that we are          that completely altered the actual
                             making.”                          Roxadustat MACE results and made the
                                                               drug seem much safer than it was.
                                                               In truth, as the FDA would reveal at the
                                                               end of the Class Period, under the FDA’s
                                                               prespecified analyses—which
                                                               Defendants were not “pleased” with and
                                                               in fact attempted to desperately conceal
                                                               throughout the Class Period—
                                                               Roxadustat’s safety signals were so
                                                               alarming and “serious” that the drug was
                                                               much more dangerous than placebo and
                                                               decidedly inferior to Epogen, the current
                                                               standard of care for which there was
                                                               already a “Black Box” warning—
                                                               rendering Roxadustat too dangerous to be
                                                               approved at all, for any patient
                                                               population.
58      199-   Speaker(s):   58. Defendants: The 10-Q stated   See reasons for falsity provided in         See facts giving rise to a strong,
        200                  that “the Company received        connection with Statements 56-57.           cogent and compelling inference of
               FibroGen,     positive topline results from                                                 Defendants’ scienter provided in
               Conterno      analyses of pooled MACE and                                                   connection with Statements 1-4, 8-
               (CEO),        MACE+ data from its Phase 3                                                   13, 14-21 and 50.
               Cotroneo      trials for Roxadustat, enabling
               (CFO)         the Company’s NDA
               Date:         submission to the FDA.”
               August 6,
               2020
               Occasion:
               2Q 2020
               Form 10-Q




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Stat.   CC      Speaker,         Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                                Made                               of Defendants’ Scienter

59-     201,   Speaker(s):   59. Conterno: A Citigroup            In addition to the reasons for falsity set   See facts giving rise to a strong,
60      203-                 analyst asked how investors          forth above, Defendant Conterno’s            cogent and compelling inference of
               FibroGen,
        204                  should think about Roxadustat in     statements during the Citigroup 15th         Defendants’ scienter provided in
               Conterno      light of its main competitor’s       Annual BioPharma Conference were             connection with Statements 1-4, 8-
               (CEO)         negative safety results released     materially false and misleading, and         13, 14-21 and 50.
               Date:         the prior week. Specifically,        omitted material facts when made, for the
                             competitor Akebia’s anemia           following additional reasons.
               September     drug Vadadustat had failed to
               9, 2020                                            First, all of Defendants’ statements that
                             show non-inferiority in the NDD      the Company had shown Roxadustat was
               Occasion:     group compared to ESAs, with a       “non-inferior” to placebo, that no Black
                             hazard ratio above 1.25.
               Citigroup                                          Box warning would be required, and that
                             Conterno responded by
               15th Annual                                        conversations with the FDA were going
                             reaffirming Roxadustat’s MACE
               BioPharma                                          well due to the Company’s “excellent”
                             results in the NDD population,
               Conference                                         Roxadustat data were false because they
                             citing “the significant level of     were entirely dependent upon
                             evidence that we have already        Defendants’ own post-hoc manipulations
                             with Roxadustat around NDD,”         that completely altered the actual
                             and how the Company was “able        Roxadustat clinical trial results and made
                             to show non-inferiority relative     the drug seem much better and safer than
                             to placebo, which is a higher        it was. In reality, Roxadustat was not
                             bar than a comparison to a           “comparable to placebo,” as under the
                             product that had – or product        true, undisclosed prespecified analyses
                             [that has] box warnings. So we       required by the FDA, Roxadustat’s safety
                             feel very good about our pool        signals were so alarming and “serious”
                             MACE data in NDD.”                   that the drug was much more dangerous
                             60. Conterno: Conterno further       than placebo and Epogen—rendering
                             stated: “I think what I can say is   Roxadustat too dangerous to be approved
                             we feel very good about where        at all, for any patient population.
                             we are in terms of the review        Second, for this reason, Defendants’
                             with the FDA, the level of           statement that Roxadustat’s safety data
                             engagement that we have. I           would not warrant any “Black Box”
                             know this question about a           warning was also materially false and
                             [Black Box] warning comes            misleading—as Defendants knew, under
                             often, which is are going to get     prespecified analyses, Roxadustat was
                             one or not . . . But we feel very    already less safe than Epogen, which
                             good about the level of energy       itself already had the “Black Box”
                             that we have. I think what I’ve      warning. Indeed, as CW 3 would
                             said before is that we have          confirm, the FDA concluded as much by
                             excellent data. We don’t believe     no later than the fall of 2020, when it
                             that the data that we have

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Stat.   CC       Speaker,         Defendants False and           Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and      Misleading Statements and         Were False and Misleading When              Cogent and Compelling Inference
                 Occasion               Omissions                              Made                               of Defendants’ Scienter

                              warrants a [Black Box]             directly informed Defendants that—at the
                              warning.”                          very least—Roxadustat would most
                                                                 definitely require a “Black Box”
                                                                 warning, if it could be approved at all.
                                                                 Third, Defendants knew but failed to
                                                                 reveal in response to the analyst’s direct
                                                                 question that, just like Akebia’s drug
                                                                 Vadadustat, in NDD patients, Roxadustat
                                                                 had also failed to reach the MACE safety
                                                                 non-inferiority margin the FDA was
                                                                 looking for—which, unbeknownst to
                                                                 investors and as the FDA would reveal
                                                                 during the July 15, 2021 AdCom, was
                                                                 1.25 and not 1.3. Indeed, as FibroGen
                                                                 would admit on April 6 ,2021, the FDA’s
                                                                 prespecified ITT analysis showed a
                                                                 hazard ratio for NDD patients with an
                                                                 upper bound of 1.27—and as the FDA
                                                                 would reveal on July 15, 2021, the
                                                                 undisclosed prespecified sensitivity
                                                                 analysis for NDD patients on Roxadustat
                                                                 was even worse, as it showed an overall
                                                                 hazard ratio of 1.38 with an upper
                                                                 bound reaching 1.7.
61      202-   Speaker(s):    61. Conterno: Conterno            See reasons for falsity provided in           See facts giving rise to a strong,
        204                   commenced the conference by       connection with Statements 59-60.             cogent and compelling inference of
               FibroGen,      touting the MACE data for Roxa,                                                 Defendants’ scienter provided in
               Conterno       stating “Roxadustat has a very                                                  connection with Statements 1-4, 8-
               (CEO)          significant data set in NDD . . .                                               13, 14-21 and 50.
               Date:          when we look at MACE, we
                              were non-inferior relative to
               September      placebo, which is a higher bar
               16, 2020       than ESAs would be. So we feel
               Occasion:      very good about our data there.”
               Morgan
               Stanley 18th
               Annual
               Global


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Stat.   CC      Speaker,         Defendants False and               Reasons Why Defendants’ Statements             Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and             Were False and Misleading When               Cogent and Compelling Inference
                Occasion               Omissions                                  Made                                of Defendants’ Scienter

               Healthcare
               Conference
62-     205-   Speaker(s):   62. Conterno: Conterno stated          In addition to the reasons for falsity set    See facts giving rise to a strong,
65      206                  that the “Roxadustat clinical          forth above, Defendant Conterno’s             cogent and compelling inference of
               FibroGen,     data demonstrated consistent           statements during the November 5, 2020        Defendants’ scienter provided in
               Conterno      efficacy and reassuring safety         3Q 2020 Earnings Call were materially         connection with Statements 1-4, 8-
               (CEO)         results across the continuum of        false and misleading, and omitted             13, 14-21 and 50.
               Date:         CKD patients with anemia.”             material facts when made, for the             Additionally, Plaintiffs’ CWs gave
                                                                    following additional reasons.
               November      63. Conterno: Regarding NDD                                                          mutually corroborating accounts that
               5, 2020       patients, Conterno stated that         Defendants’ statements that Roxadustat’s      by the fall of 2020—months before
                             Roxadustat “has the right              clinical trial data “demonstrated             Defendants would reveal the truth
               Occasion:     efficacy safety profile to be able     consistent efficacy and reassuring safety”    and at the same time Defendants
               3Q 2020       to have a really good uptake in        across the tested patient populations, that   were assuring investors that
               Earnings      the NDD setting and be able to         it was “comparable” to placebo, and that      Roxadustat safety data did not
               Call          be a catalyst for the overall          there were “reduced cardiovascular            warrant a “Black Box”—the FDA
                             expansion of that market.”             outcomes” in incident dialysis patients       had already directly informed
                                                                    were false. In reality, these statements      FibroGen that, at the very least, a
                             64. Conterno: Further discussing       were entirely dependent upon                  “Black Box” warning would be
                             NDD, Conterno told investors           Defendants’ own post-hoc manipulations        required as the agency had become
                             that “I think what’s important is      that completely altered the actual            aware of more and more safety
                             when – first, when we look at the      Roxadustat data and made the drug seem        issues with Roxadustat. ¶¶128-32,
                             overall trial, we basically see that   much better and safer than it really was.     240.
                             in NDD, we were comparable to          Indeed, under the true, undisclosed
                             placebo. So that’s when it comes       prespecified analyses required by the
                             to MACE. So that’s critically          FDA, Roxadustat’s safety signals were so
                             important. We showed non-              alarming and “serious” that the drug was
                             inferiority.”                          much more dangerous than placebo and
                             65. Conterno: Regarding incident       Epogen—rendering Roxadustat too
                             dialysis patients, Conterno            dangerous to be approved at all, for any
                             stated, “I think if we think about     patient population.
                             straight off the bat, in incident
                             dialysis, the excellent data that
                             we have with – showing
                             basically reduced
                             cardiovascular outcomes in this
                             population, so that’s extremely
                             important.”



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Stat.   CC      Speaker,         Defendants False and              Reasons Why Defendants’ Statements               Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and            Were False and Misleading When                 Cogent and Compelling Inference
                Occasion               Omissions                                 Made                                  of Defendants’ Scienter

66      207,   Speaker(s):   66. Conterno: During the           In addition to the reasons for falsity set         See facts giving rise to a strong,
        209                  conference, analysts queried       forth above, Defendant Conterno’s                  cogent and compelling inference of
               FibroGen,     whether the fact that the FDA      statements during the Stifel 2020 Virtual          Defendants’ scienter provided in
               Conterno      had never called an Advisory       Healthcare Conference were materially              connection with Statements 1-4, 8-
               (CEO)         Committee—or a committee of        false and misleading, and omitted                  13, 14-21, 50 and 62-65.
               Date:         external experts the FDA would     material facts when made, for the
                             often call to assist it in         following additional reasons.
               November      evaluating new drugs that may
               17, 2020                                         Indeed, Defendants had post hoc
                             require particular expertise--to   manipulated the Roxadustat data in order
               Occasion:     review the Roxadustat NDA was      to make the drug appear significantly
                             a positive sign.
               Stifel 2020                                      better and safer than it really was. Nor
               Virtual                                          had Roxadustat shown a statistically
                             In response, Conterno stated:
               Healthcare    “Given the chance of an AdCom, significant         benefit in the incident dialysis
               Conference                                       population.       As Defendants admitted on
                             we had to prepare for one but      April  6,  2021,    rather than lowering the
                             that's really water under the      MACE      and    MACE+      risk in incident
                             bridge… at this stage, I think     dialysis   patients   by  a statistically
                             what I can say is basically we     significant     30%   and  34%,   respectively,
                             have to rely on the data that      the actual     prespecified   analyses  agreed
                             we've shared. And I feel that the upon with the FDA showed the exact
                             data that we shared, I think is    opposite, to the point that Defendants
                             very compelling when it comes
                             to Roxadustat…the broad safety were      forced to admit that they could not
                                                                “conclude      that Roxadustat reduces the
                             data that we have first thing in   risk of .  . .  MACE and MACE+ in
                             DD where we look at both our       incident    dialysis   compared to
                             safety data there when we          [Epogen]”—meaning            that there was no
                             compare to ESAs. As you know evidence of any purported               reduction of
                             we had pretty compelling data      MACE      risk   in this population   at all.
                             when it comes to incident
                             dialysis we had statistics in      Furthermore, as Defendants were well
                             terms of a reduction in the        aware, Roxadustat’s cardiovascular
                             number of MACE events in that safety data did not support FDA
                             setting. And then when we look approval. Rather, under the true,
                             at NDD, we were compared to        undisclosed prespecified analyses
                             placebo and we basically had       required by the FDA, Roxadustat’s safety
                             comparability when it comes to signals were so alarming and “serious”
                             overall safety. So, feel very good that the drug decidedly inferior to
                             about the overall package that     placebo and Epogen—rendering
                             we had . . . Clearly we've         Roxadustat too dangerous to be approved
                             already said and have              at all. Indeed, as confirmed by

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Stat.   CC      Speaker,         Defendants False and               Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and             Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                                  Made                               of Defendants’ Scienter

                             demonstrated both the efficacy         Plaintiffs’ CWs, by November 2020 the
                             and the safety of the product.”        FDA had already informed Defendants
                                                                    that due to numerous safety concerns
                                                                    with Roxadustat, at the very least, a
                                                                    “Black Box” warning would be required
                                                                    for Roxadustat.
67-     208-   Speaker(s):   67. Conterno: As in the                See reasons for falsity provided in          See facts giving rise to a strong,
69      209                  conference two days before,            connection with Statement 66.                cogent and compelling inference of
               FibroGen,     Conterno told investors:                                                            Defendants’ scienter provided in
               Conterno      “Clearly, we have a high level                                                      connection with Statements 1-4, 8-
               (CEO)         of conviction on the overall                                                        13, 14-21, 50 and 62-65.
               Date:         submission, the strength of our
                             data…”
               November
               19, 2020      68. Conterno: Conterno
                             reiterated, “Clearly, I think the --
               Occasion:     when we look at our data, we
               Jefferies     continue to feel that the data
               Virtual       basically offers a very favorable
               London        risk-benefit profile for patients
               Healthcare    across the continuum.”
               Conference    “[W]here ESAs are really not
                             working very well.”
                             69. Conterno: Conterno stated
                             that “Roxadustat will be an
                             excellent option there, okay?
                             What about the incident dialysis
                             population, where we basically
                             showed a very significant
                             benefit when it comes to MACE
                             and MACE+.”
70-     211-   Speaker(s):   70. Defendants: Frost stated,          In addition to the reasons for falsity set   See facts giving rise to a strong,
71      215                  “Cardiovascular safety of              forth above, Defendant FibroGen and          cogent and compelling inference of
               FibroGen,     Roxadustat was also carefully          Senior VP Frost’s statements in the          Defendants’ scienter provided in
               Frost         evaluated, and demonstrated in         December 9, 2020 Letter to the FDA           connection with Statements 1-4, 8-
               (Senior VP)   the Phase 3 program, by                Responding to the Citizen Petition were      13, 14-21, 50 and 62-65.
                             assessment of major adverse            materially false and misleading, and
                             cardiovascular events (MACE)           omitted material facts when made, for the
                             from pooled analyses of Phase 3        following additional reasons.

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Date:           studies. In the MACE analysis of    First, Defendants’ statements in response
                the DD-CKD patient pool,            to the Citizen Petition that the
December        “[R]oxadustat demonstrated          “cardiovascular safety” of Roxadustat
9, 2020         non-inferiority compared to         was “demonstrated in the Phase 3
Occasion:       epoetin-alfa, and in the NDD-       program,” and that Roxadustat had
                CKD pool, Roxadustat                demonstrated “non-inferiority” compared
Letter to the   demonstrated non-inferiority to     to Epogen and placebo in the Phase 3
FDA             placebo with respect to MACE.”      trials, were plainly false. In reality,
Responding                                          Defendants had made post hoc
to the          71. Defendants: Regarding the       manipulations to the Roxadustat data in
Citizen         NDA submission, the letter          order to make it appear significantly
Petition        added:                              better and safer than it was.
                “FibroGen’s NDA submission          Second, the data was not based on any
                was complete, complied with all     prespecified analyses agreed upon with
                FDA guidance, and included          the FDA. Rather, under the FDA’s
                data from all clinical and          prespecified analyses, Roxadustat’s
                preclinical studies. The            safety signals were so alarming and
                Integrated Summary of Safety        “serious” that the drug was much more
                cardiovascular safety report        dangerous than placebo and Epogen,
                includes the pooled                 which already carried a “Black Box”
                cardiovascular safety analyses of   warning. Indeed, as confirmed by
                the DD-CKD, and NDD-CKD             Plaintiffs’ CWs, by the fall of 2020 the
                patient populations. In addition,   FDA had already informed Defendants
                for completeness and full           that, at the very least, a “Black Box”
                transparency, FibroGen included     warning would be required for
                certain cardiovascular safety       Roxadustat due to the FDA’s growing
                sensitivity analyses, including     safety concerns.
                the stable dialysis subgroup, and   Third, as Defendants would themselves
                the DD-CKD pool including the       soon admit, FibroGen’s NDA submission
                PYRENEES study. The results         to the FDA was not “complete and
                from these sensitivity analyses     transparent”—to the contrary, and as the
                do not change the conclusions       Company admitted in the April 6, 2021
                with respect to MACE of non-        press release, the Company had
                inferiority of roxadustat to        misleadingly submitted much more
                epoetin-alfa in DD-CKD              favorable manipulated post hoc safety
                patients, and non-inferiority of    analyses in the NDA as the primary
                roxadustat to placebo in NDD-       safety analyses, forcing the Company to
                CKD patients. In conclusion,        have to rush to “clarify” what post hoc
                FibroGen’s NDA submission
                                                    changes were made to the FDA.
                was complete and transparent.
                The data supporting the safety      Fourth, while the Company claimed in
                and effectiveness of roxadustat     its response to the Citizen Petition that
                is robust and compelling.”          “sensitivity analyses” did not change any
                                                    conclusion that the MACE risk of

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Stat.   CC      Speaker,         Defendants False and           Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and         Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                              Made                               of Defendants’ Scienter

                                                                Roxadustat was non-inferior to placebo
                                                                or Epogen, in truth, the FDA’s
                                                                prespecified sensitivity analyses—which
                                                                Defendants wholly concealed from
                                                                investors throughout the Class Period--
                                                                revealed highly alarming safety results
                                                                for Roxadustat showing that Roxadustat
                                                                was inferior to placebo and Epogen,
                                                                despite its Black Box warning.
72      217,   Speaker(s):   72. FibroGen and Conterno:         In addition to the reasons for falsity set   See facts giving rise to a strong,
        220                  While FibroGen stated it was       forth above, Defendants’ statements in       cogent and compelling inference of
               FibroGen,     “disappointed” with the news,      the March 1, 2021 Press Release were         Defendants’ scienter provided in
               Conterno      Defendant Conterno was quoted      materially false and misleading, and         connection with Statements 1-4, 8-
               (CEO)         as stating: “We continue to be     omitted material facts when made, for the    13, 14-21, 50 and 62-65.
               Date:         confident in the efficacy and      following additional reasons.
                             safety profile of [Roxadustat]
               March 1,                                         First, contrary to Defendants’ statements
                             based on positive results from a
               2021                                             about their unwavering “confidence” in
                             global Phase 3 program             the Roxadustat data, as Defendants were
               Occasion:     encompassing more than 8,000       well aware, Roxadustat’s cardiovascular
                             patients.”
               Press                                            safety data did not support FDA
               release                                          approval. Rather, Defendants had made
               announcing                                       significant post hoc manipulations to the
               that the                                         Roxadustat data in order to make the
               FDA would                                        drug appear much better and safer than it
               hold an                                          was, and the manipulated data that they
               AdCom                                            presented to the public were not based on
               meeting                                          any prespecified analyses that had been
                                                                agreed upon with the FDA. In reality,
                                                                under the true, undisclosed prespecified
                                                                analyses required by the FDA,
                                                                Roxadustat’s safety signals were so
                                                                alarming and “serious” that the drug was
                                                                too dangerous to be approved at all, for
                                                                any patient population.
                                                                Second, as Defendants would themselves
                                                                admit only one month later, FibroGen’s
                                                                NDA submission to the FDA was not
                                                                “complete”—to the contrary, and as the
                                                                Company would soon admit on April 6,

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Stat.   CC      Speaker,         Defendants False and            Reasons Why Defendants’ Statements          Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and          Were False and Misleading When            Cogent and Compelling Inference
                Occasion               Omissions                               Made                             of Defendants’ Scienter

                                                                2021, FibroGen had misleadingly
                                                                submitted its manipulated post hoc safety
                                                                analyses in the NDA to the FDA as the
                                                                primary analyses, forcing the Company
                                                                to immediately “clarify” the issue with
                                                                the FDA.
73-     218,   Speaker(s):   73. Eisner: Eisner stated: “We     See reasons for falsity provided in         See facts giving rise to a strong,
74      220                  continue to have confidence in     connection with Statement 72.               cogent and compelling inference of
               FibroGen,     the completeness of our NDA                                                    Defendants’ scienter provided in
               Conterno      submission, the strength of our                                                connection with Statements 1-4, 8-
               (CEO),        data,” later adding that “we're                                                13, 14-21, 50 and 62-65.
               Eisner        very willing and able to have this
               (CMO)                                                                                        In addition, in his role as CMO,
                             discussion in public and present                                               Defendant Eisner oversees all global
               Date:         our data, which, as we alluded to                                              clinical development and regulatory
                             before, we're quite confident
               March 1,                                                                                     affairs for FibroGen. Notably, while
                             in.”
               2021                                                                                         Eisner only joined the Company in
                             74. Conterno: Conterno added:                                                  December 2020, his total
               Occasion:     “[T]he data that we have on                                                    compensation for 2020 was
               4Q and FY     incident dialysis, we believe, is                                              substantial, amounting to over $3.5
               2020          some of our strongest data. As                                                 million. ¶138.
               Earnings      we think about MACE and
               Call          MACE+ significance in that
                             population. So clearly, very,
                             very important data.”
75-     219-   Speaker(s):   75. Conterno: Conterno assured See reasons for falsity provided in             See facts giving rise to a strong,
78      220                  investors that there was no      connection with Statement 73-74.              cogent and compelling inference of
               FibroGen,     concern despite the previous                                                   Defendants’ scienter provided in
               Conterno      day’s news regarding the                                                       connection with Statements 1-4, 8-
               (CEO)         AdCom meeting, stating that:                                                   13, 14-21, 50 and 62-65.
               Date:         “We continue to have confidence
                             in the completeness of the NDA
               March 2,      submission and the strength of
               2021          the roxadustat data.”
               Occasion:     76. Conterno: Conterno called
               41st Annual   the AdCom “an opportunity to
               Cowen         basically showcase, I think, the
               Healthcare    strength of our data, and we
               Conference    continue to have confidence on

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Stat.   CC       Speaker,         Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and      Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                 Occasion               Omissions                                Made                               of Defendants’ Scienter

                              the strength of the data of
                              Roxadustat across both DD and
                              NDD.”
                              77. Conterno: Conterno further
                              asserted that the totality of the
                              data for DD and NDD patients
                              “supports -- the benefit risk
                              profile.”
                              78. Conterno: Conterno added
                              that “I know because we've
                              discussed in the past, and I think
                              I've been pretty clear in terms of
                              what has been agreed with the
                              FDA and what hasn't been
                              agreed with FDA. I think that's
                              known.”
79-     222,   Speaker(s):    79. Conterno: Conterno was           In addition to the reasons for falsity set   See facts giving rise to a strong,
81      227-                  quoted in the press release as       forth above, Defendants’ statements in       cogent and compelling inference of
               FibroGen,
        229                   stating that “this does not          the April 6, 2021 Press Release were         Defendants’ scienter provided in
               Conterno       impact our conclusion                materially false and misleading, and         connection with Statements 1-4, 8-
               (CEO)          regarding the comparability,         omitted material facts when made, for the    13, 14-21, 50 and 62-65.
               Date:          with respect to cardiovascular       following additional reasons.                In addition, the fact that Defendants
                              safety, of Roxadustat to
               April 6,                                            Specifically, Defendants knew that           did not themselves reveal the full
                              [Epogen] in dialysis-dependent
               2021                                                Roxadustat was not comparable to             truth about the highly negative
                              (DD) patients and to placebo in      placebo or Epogen, nor did it have a         safety profile for Roxadustat that
               Occasion:      non-dialysis dependent (NDD)         “favorable” risk-benefit profile. Rather,    doomed its approval prospects—
                              patients.”
               Press                                               in truth, while Defendants purported to      such that it was revealed by the FDA
               release        80. Conterno: “We continue to        come clean on April 6, 2021 by releasing     only during the July 15, 2021
               announcing     have confidence in                   data showing the real hazard ratios under    AdCom—strongly supports an
               that the       Roxadustat’s benefit risk            the FDA’s prespecified primary analyses,     inference of scienter. ¶¶244, 249.
               primary        profile.”                            Defendants still did not disclose the
               cardiovascul                                        FDA’s prespecified and equally
                              81. Press Release: The press
               ar safety                                           important sensitivity analyses—i.e.,
                              release reiterated that “[t]hese
               analyses                                            analyses that were indisputably a key part
                              analyses do not change the
               included                                            of the “totality” of the data—which
                              Company’s assessment that
               post-hoc                                            Defendants had wholly withheld from
                              Roxadustat is comparable to
               changes to                                          investors throughout the Class Period.
                              placebo in non-dialysis
               the            dependent patients and to

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stratification [Epogen] in dialysis dependent    These critical sensitivity analyses made
factors.       patients using MACE to            clear that Roxadustat was significantly
               measure cardiovascular safety.”   inferior to placebo and Epogen in the
                                                 MACE and ACM endpoints in numerous
                                                 and alarming ways. Indeed, based on the
                                                 data from the FDA’s prespecified
                                                 sensitivity analyses, the FDA AdCom
                                                 would conclude that “there were greater
                                                 rates of some important adverse events
                                                 with Roxadustat than even [Epogen]”—
                                                 including deaths—and that Roxadustat
                                                 could “not match the efficacy of
                                                 [Epogen]” even if the Roxadustat dose
                                                 were lowered to potentially lessen the
                                                 safety issues. As a result of these
                                                 “serious” safety concerns, the FDA
                                                 AdCom would vote overwhelmingly
                                                 against the approval of Roxadustat for
                                                 any patient population, and even with a
                                                 Black Box warning.
                                                 Additionally, as the chart in ¶228
                                                 demonstrates, the FDA expressly noted
                                                 the “considerable difference” between
                                                 the results in the crucial MACE and
                                                 ACM endpoints as between (i)
                                                 FibroGen’s post hoc manipulated
                                                 analysis; (ii) the primary prespecified
                                                 FDA analysis Defendants belatedly
                                                 revealed on April 6, 2021; and (iii) the
                                                 prespecified FDA sensitivity analyses
                                                 Defendants never revealed.
                                                 Significantly, for NDD patients, under
                                                 the undisclosed FDA prespecified
                                                 sensitivity analyses the estimated MACE
                                                 hazard ratio was 1.38, or nearly 30%
                                                 higher than the estimated MACE hazard
                                                 ratio of 1.08 Defendants had originally
                                                 disclosed pursuant to the doctored post
                                                 hoc analysis—and the upper bound for
                                                 that endpoint was higher still, at 1.7, or
                                                 nearly 40% higher than the upper bound
                                                 of 1.24 Defendants had originally
                                                 disclosed.

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Stat.   CC      Speaker,         Defendants False and          Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and        Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                             Made                               of Defendants’ Scienter

                                                               The same was true for the ACM endpoint
                                                               in the NDD patient population, for which
                                                               the FDA’s sensitivity analysis showed an
                                                               estimated hazard ratio of 1.4, or over
                                                               30% higher than the estimated hazard
                                                               ratio Defendants originally disclosed of
                                                               1.06, with the upper bound for that
                                                               endpoint reaching as high as 1.82—or
                                                               48% higher than the upper bound of 1.23
                                                               Defendants had disclosed pursuant to the
                                                               manipulated post hoc analysis.
                                                               The prespecified sensitivity results for
                                                               the DD population also showed a
                                                               significant difference, as the upper bound
                                                               for the MACE endpoint was 1.3, or over
                                                               15% higher than the upper bound of 1.13
                                                               Defendants originally disclosed—and for
                                                               the ACM endpoint, the prespecified
                                                               sensitivity analysis showed an upper
                                                               bound of 1.35, which was also over 15%
                                                               higher than the upper bound of 1.17
                                                               Defendants had presented under the
                                                               manipulated post hoc analysis.
82-     223-   Speaker(s):   82. Conterno: During the call,    In addition to the reasons for falsity set   See facts giving rise to a strong,
89      229                  Conterno falsely attempted to     forth above, Defendants’ statements          cogent and compelling inference of
               FibroGen,     assuage concerns regarding the    during the April 6, 2021 Business Update     Defendants’ scienter provided in
               Conterno      cardiovascular safety of          Call were materially false and               connection with Statements 1-4, 8-
               (CEO),        Roxadustat:                       misleading, and omitted material facts       13, 14-21, 50, 62-65 and 79-81.
               Eisner                                          when made, for the following additional
               (CMO)         “Our conclusion regarding the     reasons.
               Date:         comparability with respect to     Defendant Conterno’s statement that
                             cardiovascular safety of
               April 6,                                        FibroGen had no agreement with the
                             Roxadustat to [Epogen] in
               2021                                            FDA on whether the upper bound for the
                             dialysis-dependent patients and   non-inferiority margin should be 1.3 or
               Occasion:     to placebo in nondialysis-        1.25 was materially false because
                             dependent patients is not
               “Business                                       Conterno concealed the critical fact—as
                             impacted. So let me be very
               Update                                          the FDA would reveal during the July 15,
                             clear. We continue to have
               Call” to                                        2021 AdCom—that the reason for the
                             confidence in Roxadustat's        lack of agreement was that the FDA had

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Discuss      benefit risk profile, and we're     stated all along that an upper bound of
Admissions   committed to working closely        1.25 (and not 1.3) was what it was
             with the FDA to bring this          looking for. Indeed, the FDA stated that
             important new treatment to          it had explicitly rejected the Company’s
             patients living with anemia of      proposal of 1.3 as the upper bound
             CKD.”                               because FibroGen had attempted to
                                                 choose that non-inferiority margin for
             83. Eisner: Eisner stressed that    itself, post hoc, i.e., after the results of
             “these analyses do not change       the Roxadustat safety data were fully
             the Company’s assessment that       known to FibroGen.
             Roxadustat is comparable to
             placebo in nondialysis-             As a result, the true upper bound hazard
             dependent patients and to           ratios for the Roxadustat safety data
             [Epogen] in dialysis-dependent      under the FDA’s prespecified sensitivity
             patients using MACE to              analyses Defendants never disclosed far
             measure cardiovascular safety.”     exceeded the upper bound of 1.25 the
                                                 FDA was focused on in the key MACE
             84. Conterno: In response to        and ACM endpoints across both patient
             another analyst inquiry regarding   populations, in addition to also reaching
             whether the upper bound of the      or exceeding the 1.3 non-inferiority
             confidence intervals that was       margin Defendants claimed the FDA
             pre-agreed with the FDA was         wanted to see and that Roxadustat had
             1.25 or 1.3 for noninferiority,     purportedly cleared.
             Conterno stated that “in non-
             dialysis, we basically show         Moreover, for NDD patients, even under
             comparability relative to           the FDA’s slightly more favorable
             placebo. With regards to the 1      primary prespecified analysis Defendants
             point to any measures of excess     belatedly revealed on April 6, 2021, the
             risk, you mentioned 1.25 or 1.3,    MACE and ACM hazard ratios still
             I think I said in a number of       exceeded 1.25—as they were at 1.27 and
             different occasions that we do      1.26, respectively—thus failing the actual
             not have a pre-agreed non-          non-inferiority margin the FDA was
             inferiority margin with the         using, but that Defendants concealed
             FDA.”                               from investors throughout the Class
                                                 Period.
             85. Conterno: “But clearly, our
             conclusions when it comes, as I
             mentioned, to -- in NDD and
             DD that we're comparable to
             placebo in NDD and
             comparable in DD to EPO have
             not changed a from a safety
             perspective. I think that's a
             critically important message.
             When it comes to incident


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Stat.   CC     Speaker,        Defendants False and              Reasons Why Defendants’ Statements    Facts Giving Rise to a Strong,
# (s)   ¶¶’s   Date, and     Misleading Statements and            Were False and Misleading When      Cogent and Compelling Inference
               Occasion              Omissions                                 Made                       of Defendants’ Scienter

                           dialysis, the numbers continue
                           to be quite positive.”
                           86. Eisner: “the overall analysis
                           are consistent with comparable
                           safety to placebo in the NDD
                           population and to ESA in the
                           dialysis-dependent population.
                           And overall, we feel very good
                           about the overall benefit-risk
                           profile of the drug.”
                           87. Eisner: Further, in response
                           to analyst inquiry regarding
                           Roxa’s safety profile, Eisner
                           reiterated that “still, the overall
                           results are very comparable in
                           the NDD population to -- for
                           Roxadustat to placebo and in
                           the DD and the incident dialysis
                           subpopulation, comparable to
                           ESA's in terms of
                           cardiovascular safety. So
                           overall, we continue to believe
                           that the benefit risk profile of
                           Roxadustat is favorable.”
                           88. Eisner: Eisner again stressed
                           that they could “clearly state that
                           the results with the prespecified
                           stratification factors continue to
                           support comparable
                           cardiovascular safety between
                           [R]oxadustat and placebo and a
                           positive benefit risk profile.”
                           89. Eisner: Eisner concluded
                           that “[a]t the end of the day, we
                           do believe that the benefit/risk
                           profile of roxadustat is positive
                           and that the review will likely
                           conclude that.”

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Stat.   CC      Speaker,         Defendants False and              Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and            Were False and Misleading When              Cogent and Compelling Inference
                Occasion               Omissions                                 Made                               of Defendants’ Scienter

90-     230,   Speaker(s):   90. Conterno: During the call,        In addition to the reasons for falsity set   See facts giving rise to a strong,
91      232                  Conterno stated that the post hoc     forth above, Defendant Conterno’s            cogent and compelling inference of
               FibroGen,     update the Company had                statements during the May 10, 2021 Q1        Defendants’ scienter provided in
               Conterno      provided on April 6, 2021 “does       2021 Earnings Call were materially false     connection with Statements 1-4, 8-
               (CEO)         not impact our overall                and misleading, and omitted material         13, 14-21, 50, 62-65 and 79-81.
               Date:         conclusions regarding the             facts when made, for the following
                             comparability with respect to         additional reasons.
               May 10,       cardiovascular safety of
               2021                                                First, under the true prespecified
                             Roxadustat to [Epogen] in [DD]        analyses required by the FDA,
               Occasion:     patients and to placebo in            Roxadustat’s safety signals were so
                             [NDD] patients.”
               Q1 2021                                             alarming and “serious” that the drug was
               Earnings      91. Conterno: Conterno stressed       much more dangerous than placebo and
               Call          that he “want[ed] to reiterate that   decidedly inferior to Epogen—rendering
                             we continue to have confidence        Roxadustat too dangerous to be approved
                             in the Roxadustat data and in         at all, for any patient population.
                             the safety and efficacy profile       Second, while Defendants purported to
                             demonstrated in the Phase 3           come clean by releasing data showing the
                             program.”                             real hazard ratios under the FDA’s
                                                                   prespecified primary analyses on April 6,
                                                                   2021, significantly, Defendants still had
                                                                   not disclosed the FDA’s prespecified and
                                                                   equally important sensitivity analyses—
                                                                   i.e., indisputably a key part of the
                                                                   “totality” of the data—which
                                                                   unequivocally confirmed that, contrary to
                                                                   Defendants’ public statements,
                                                                   Roxadustat was significantly inferior to
                                                                   placebo and Epogen in the MACE and
                                                                   all-cause mortality endpoints.
92-     231-   Speaker(s):   92. Conterno: During the              See reasons for falsity provided in          See facts giving rise to a strong,
93      232                  conference, Conterno stressed         connection with Statement 90-91.             cogent and compelling inference of
               FibroGen,     that Roxadustat was                                                                Defendants’ scienter provided in
               Conterno      “comparable on both dialysis                                                       connection with Statements 1-4, 8-
               (CEO)         dependent and non-dialysis                                                         13, 14-21, 50, 62-65 and 79-81.
               Date:         dependent comparable to ESAs
                             on dialysis dependent onto
               May 13,       placebo on non-dialysis
               2021          dependent” and “can be an ideal
                             choice there given the strength

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Stat.   CC       Speaker,         Defendants False and             Reasons Why Defendants’ Statements            Facts Giving Rise to a Strong,
# (s)   ¶¶’s     Date, and      Misleading Statements and           Were False and Misleading When              Cogent and Compelling Inference
                 Occasion               Omissions                                Made                               of Defendants’ Scienter

               Occasion:      of our data, in particular in
                              incident dialysis.”
               Bank of
               America        93. Conterno: Conterno assured
               Annual         investors that he was “quite
               Healthcare     confident on what Roxadustat
               Conference     can deliver,” and added that for
                              Roxa, “when it comes to MACE
                              non-inferior to ESAs on DD
                              and non-inferior comparable to
                              placebo on NDD. . . all in all, I
                              think it should help understand I
                              think the overall profile of the
                              product better, and I'm optimistic
                              about given our preparation that
                              we will have a good showing.”
94-     233,   Speaker(s):    94. Conterno: Conterno stated        In addition to the reasons for falsity set   See facts giving rise to a strong,
95      235                   that it was “important [to]          forth above, Defendant Conterno’s            cogent and compelling inference of
               FibroGen,      highlight” “that Roxadustat has      statements during the June 4, 2021           Defendants’ scienter provided in
               Conterno       shown comparability when it          Jefferies Healthcare Conference were         connection with Statements 1-4, 8-
               (CEO)          comes to both placebo in NDD         materially false and misleading, and         13, 14-21, 50, 62-65 and 79-81.
               Date:          and relative to EPO in DD.”          omitted material facts when made, for the
                                                                   following additional reasons.
               June 4, 2021   95. Conterno: Conterno further
                              claimed that the hazard ratio        Roxadustat’s MACE safety results were
               Occasion:      estimate for DD patients was         in fact not comparable to placebo or
               Jefferies      “still below 1 and it looks very,    Epogen. Rather, in reality, under the
               Healthcare     very positive.”                      FDA’s prespecified analyses,
               Conference                                          Roxadustat’s safety signals were so
                                                                   alarming and “serious” that the drug was
                                                                   much more dangerous than placebo and
                                                                   Epogen—rendering Roxadustat too
                                                                   dangerous to be approved at all, for any
                                                                   patient population.
                                                                   Indeed, Defendants knew that they had
                                                                   still not disclosed the FDA’s prespecified
                                                                   and equally important sensitivity analyses
                                                                   showing that, contrary to their public
                                                                   statements, Roxadustat was significantly
                                                                   inferior to placebo and Epogen in the

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Stat.   CC      Speaker,         Defendants False and           Reasons Why Defendants’ Statements             Facts Giving Rise to a Strong,
# (s)   ¶¶’s    Date, and      Misleading Statements and         Were False and Misleading When               Cogent and Compelling Inference
                Occasion               Omissions                              Made                                of Defendants’ Scienter

                                                                MACE and all-cause mortality
                                                                endpoints, in addition to causing a host of
                                                                other undisclosed risks and side effects.
                                                                Moreover, contrary to Defendant
                                                                Conterno’s assertion that the estimated
                                                                hazard ratio for DD patients was less
                                                                than 1, under the FDA’s undisclosed
                                                                prespecified sensitivity analyses in that
                                                                population, the estimated hazard ratios
                                                                for MACE and ACM—in addition to
                                                                having upper bounds of 1.3 and above—
                                                                exceeded 1 by notable margins (1.14 and
                                                                1.17, respectively).
96      234-   Speaker(s):   96. Conterno: In response to       See reasons for falsity provided in           See facts giving rise to a strong,
        235                  analyst inquiry regarding the      connection with Statement 94-95.              cogent and compelling inference of
               FibroGen,     safety of the updated Roxadustat                                                 Defendants’ scienter provided in
               Conterno      data, Conterno stated that “what                                                 connection with Statements 1-4, 8-
               (CEO)         the data shows is -- what the                                                    13, 14-21, 50, 62-65 and 79-81.
               Date:         analogy shows is basically the
                             Roxadustat is comparable to
               June 10,      ESAs to EPO in the DD setting
               2021          and comparable to placebo in
               Occasion:     the NDD setting…”
               Goldman
               Sachs 42nd
               Annual
               Global
               Healthcare
               Conference




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